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                                                       !!!!!!!!!!!                             !


                                                       June 1, 2015


           VIA WWW.REGULATIONS.GOV

           Adele Gagliardi
           Administrator
           Office of Policy Development and Research
           Employment and Training Administration
           U.S. Department of Labor
           200 Constitution Avenue, NW
           Room N-5641
           Washington, DC 20210


                  Re:    RIN 1205-AB70
                         Temporary Agricultural Employment of H-2A Foreign Workers in the
                         Herding or Production of Livestock on the Open Range in the United
                         States


           Dear Ms. Gagliardi,

                    Mountain Plains Agricultural Services (Mountain Plains or MPAS) and Western
           Range Association (Western Range or WRA) (collectively, “Commenters”) submit the
           following comments with respect to the Notice of Proposed Rulemaking (NPRM) issued
           April 15, 2015, Temporary Agricultural Employment of H-2A Foreign Workers in the
           Herding or Production of Livestock on the Open Range in the United States, RIN 1205-
           AB70 (NPRM or the “Rule”). Those two organizations represent nearly all of the U.S.
           employers using the H-2A program to hire foreign workers involved in the production of
           grazing livestock (sheep, goats, and cattle). Since there have been shortages of U.S.
           workers willing to perform this work since World War II and virtually no U.S. workers at
           all for decades, Mountain Plains and Western Range’s employer members must rely on
           the “special procedures” under which the Department of Labor (DOL) has administered
           the H-2A visa program (and its predecessors) for more than 60 years.              These
           associations, their members, the businesses that supply them and purchase the meat and
           wool that they produce, and the rural communities in which they operate share in the
           grave concern that the Rule will deeply wound or eliminate this industry and end a way
           of life in the American West.




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                  This grave concern stems from the numerous proposed changes to the
           longstanding special procedures. Each specific concern is discussed in turn – but the two
           most alarming changes in the Rule are the tripling of monthly wage rates in conjunction
           with new and unrealistic limits on work that may be performed by H-2A workers
           involved in the grazing production of livestock.

                   These two changes alone will exclude hundreds of ranchers from the H-2A
           program and will cause any who remain to operate at a loss, sell their herds, and go out of
           business. As DOL has refused multiple requests by Mountain Plains and Western Range
           to meet to discuss any proposed changes to the special procedures – reversing decades of
           valuable stakeholder-agency interaction – Mountain Plains and Western Range fear that
           the Department has issued the proposed Rule based on fundamental misunderstandings of
           the unique characteristics of the livestock grazing industry and that the resulting errors
           will cause the extinction of that industry.

                   MPAS and WRA offer these comments in response to DOL’s specific questions
           raised in the NPRM, to better explain their industry, to identify those areas of the Rule
           that will cause the greatest harm, to propose alternatives to address the Department’s
           policy concerns without inflicting that harm. Many of the rancher-members of MPAS
           and WRA graze their livestock on the same land that generations of their family have
           used since the 1800’s. They work shoulder to shoulder with and treat their workers as
           part of the family and understand DOL’s role in protecting those workers; they hope to
           pass the ranch on to their children and grandchildren, and they understand and support
           updating the H-2A rules for this industry in a way that balances those two goals.

                  Range Production of Sheep and Livestock

                   Mountain Plains Agricultural Service was created in 1988, as employers engaged
           in range production of livestock sought more certainty for their workforce following the
           enactment of the Immigration Reform and Control Act of 1986 (“IRCA”). Mountain
           Plains has approximately 280 members who operate in 16 states, primarily in the Rocky
           Mountains. Mountain Plains acts as an “agent” on behalf of its employer members who
           utilize the H-2A visa program to hire workers involved in the production of grazing
           livestock (sheep, goats, and cattle). Mountain Plains does not file a “master” application
           for H-2A workers; each member employer is a single employer. Mountain Plains is
           based in Casper, Wyoming.

                  Western Range Association was first incorporated in 1953, after the enactment of
           the Immigration and Nationality Act (“INA”) in 1952. In the 60-plus years since its
           incorporation, Western Range has grown to include 216 members in 11 western states.
           Western Range files “master” applications for H-2A sheepherders, who transfer between
           WRA members as the need for workers requires. Western Range is based in Salt Lake



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           City, Utah. A more extensive history of Western Range and its role in this program and
           the larger H-2A program are included below as an Addendum to this document.!

                    Roughly 40% of all sheep in the U.S. and beef cows in the Western United States
           are herded by H-2A workers. The notion of “open range” is antiquated and inaccurate, as
           discussed below, but the production of grazing livestock in the American West is
           performed on a combination of privately-owned and federally-owned public land for
           which livestock producers pay annual grazing fees. Through the grazing of sheep and
           cattle, these producers help the U.S. government manage more than 250 million acres of
           public land. Prescribed grazing is a critical conservation practice on behalf of local
           governments throughout the West as well.

                  Whether individually or as part of a team, herders can tend a large “band” or
           “herd” of 1,000 head of livestock or more, often in rugged high altitude terrain or dry
           desert conditions, hauling water for the animals, herding them to grazing areas and
           making sure they have enough to eat, keeping them from going astray, and protecting
           them from the constant threat of natural predators like coyotes, mountain lions, and
           wolves, harmful or poisonous plants, and man-made dangers like highways and
           domesticated dogs. During lambing, calving or kidding season, the herders assist the
           animals in the birthing process, and at all times, the herders provide for the health and
           medical needs of the herd.

                   Dating back to World War II, sheep producers found it first difficult and later
           impossible to find United States workers able and willing to perform the difficult work of
           “range” sheepherding. In recent years, the number of U.S. born sheepherders has
           essentially dropped to zero. For example, in 2012, Western Range’s members sought to
           hire nearly 1,000 sheepherders. Out of that number, only 22 U.S. workers even applied,
           and only 2 met the qualifications and were hired. Neither completed the job contract. In
           2014, Mountain Plains filed H-2A applications seeking 49 goat/sheepherders, 27
           goatherders, 734 sheepherders, 235 grazing cattle herders, and 30 sheep shearers and
           wool graders. Of the more than 1,000 positions for which Mountain Plains’ employers
           needed workers, exactly 2 qualified U.S. workers applied. One was not interested in the
           job and the other was hired but quit before completing his contract.

                  Even where there are “U.S.” workers applying for work in the production of
           grazing livestock, nearly all are foreign-born, possible former H-2A workers who have
           obtained permanent resident status by marrying U.S. spouses. The remote and
           demanding nature of this work makes it unattractive to U.S. workers. Without the
           sheepherders hired from Peru, Mexico, and Chile, the generations’ old industry of
           grazing livestock would disappear forever in the United States.

                  Even with access to the H-2A program, grazing livestock producers face an
           unforgiving present and an uncertain future: producers face both rising input costs (feed,



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           water, transportation, etc.) and a price-taking market in which more than half of the U.S.
           lamb supply and most of the U.S. wool supply is provided by China, Australia, and New
           Zealand. Prolonged droughts only compound these problems, and large, well-established
           sheep operations are going out of business every year. Where U.S. herds included more
           than 56 million head of sheep at the beginning of World War II, the current total is now
           less than 10% of that figure, with fewer than 5.3 million head of sheep as of the January
           30, 2015 USDA NASS Sheep and Goat Report.1 According to USDA data, lamb imports
           have increased from approximately 6,000 pounds per month in January 2000 to more
           than 20,000 pounds per month in March 2015, primarily from Australia, due in part to the
           increase in purchase power of the U.S. dollar vs. the Australian dollar in recent years.2

                   The attached report by Stephen Bronars, Ph.D., “Analysis of the Wages of H-2A
           Temporary Foreign Workers Employed in the Herding and Production of Range
           Livestock” (Bronars Report), addresses the current world market for the wool and meat
           produced by this industry, as well as suggesting an alternative to the NPRM’s proposed
           wage methodology and a discussion of how that wage alternative would provide a far
           better standard of living for herders than that seen by other workers in this region. First,
           as discussed in the Bronars Report, the massive increase in mandated wages proposed in
           the NPRM assumes that employers would be able to pay those increased wages by raising
           prices, without losing their market share to foreign competitors in the global market. As
           shown in that report, however, U.S. producers account for less than seven tenths of one
           percent of the world’s wool production and less than nine tenths of one percent of the
           world’s lamb production. U.S. market share has been shrinking for decades, but United
           Nations data show that U.S. wool production is down 65% since 1990, while lamb
           production is down 56% over that same period. Beef producers in the U.S. face the same
           pressures, with roughly 3% of the world’s beef supply produced on the range.3 The
           unavoidable bottom line of these market conditions is that U.S. producers will not be able
           to increase their prices and will, instead, be forced out of business by the tripling of their
           labor costs, leaving foreign competitors to slightly increase their own production to meet
           that demand at a lower price.

                  Due to the fortitude of U.S. ranchers and the hard work of the H-2A herders that
           they hire, some family ranches have stayed in business. The estimated value of direct
           production by sheep under the care of H-2A workers is $275 million, with revenue
           created in indirect “upstream” and “downstream” businesses valued at more than $665
           million. The value created by H-2A workers involved in the production of grazing goats
           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           1!By  way of contrast, in the early 1800’s there were fewer than 10 million people in the United States but
           more than 7 million head of sheep. U.S. sheep herds stayed above that number for 200 years before
           dropping below 7 million head in 2003 and staying below that figure ever since.
           2!http://www.ers.usda.gov/data-products/livestock-meat-international-trade-data.aspx#26050!
           3!Range beef producers face competition both from foreign producers as well as U.S. feedlots. Increasing
           the operating costs for range producers will eliminate their remaining market share and lead to only foreign
           or feedlot beef.



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           and cattle involves similar “multiplier” effects on local economies. This is a small
           industry relative to some, but it plays a significant role in the livelihood and survival
           prospects of small towns throughout the West. From the meat on a family’s dinner table
           to the wool in the uniforms worn by the U.S. military, the range production of sheep and
           livestock contributes to the American economy and continues the American story. The
           Commenters respectfully urge the Department of Labor to reconsider its proposed Rule,
           which threatens to end this way of life.

                  Early Program History and Mendoza Litigation

                   The Department of Labor set forth the early history of the program to admit
           foreign workers to address the shortages of U.S. workers in the production of grazing
           livestock in Field Memorandum No. 24-01 (FM 24-01):

                  Historically, employers in several western states have utilized the
                  provisions of the Immigration and Nationality Act (INA), 8 U.S.C. 1101,
                  et seq., to import nonimmigrant foreign workers to work as sheepherders
                  and goatherders in conjunction with their ranching activities.

                  The unique occupational characteristics of sheepherding (spending
                  extended periods of time grazing herds of sheep in isolated mountainous
                  terrain; being on call to protect flocks from predators 24 hours a day, 7
                  days a week) have been recognized by the Department, the United States
                  Citizenship and Immigration Service (USCIS), and Congress as significant
                  factors in limiting the number of U.S. workers who might be interested in
                  and capable of performing these jobs.

                  During the early 1950’s, Congress enacted three special laws authorizing
                  the admission of a certain number of “foreign workers skilled in
                  sheepherding” for many of these jobs. Special privileges were granted
                  with respect to the issuance of visas which enabled the foreign workers to
                  gain entry into the U.S. on an expedited basis, provided that they were
                  otherwise admissible into the U.S. for permanent residence. There were
                  no required tests of U.S. worker availability or adverse effect at the time.

                  During 1955 and 1956, the House Judiciary Committee (Committee), in
                  response to requests from sheep ranchers, undertook an investigation to
                  examine allegations that a number of foreign sheepherders admitted under
                  the special laws were leaving sheepherding shortly after arriving in the
                  U.S., and were instead employed in other industries and occupations.

                  The Committee's investigation substantiated many of these allegations. In
                  a report issued on February 14, 1957, the Committee stated that American



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                          employers and the sheep raising industry had not fully benefitted from the
                          services of foreign sheepherders, as was intended by the special
                          legislation. The Committee recommended that no additional special
                          legislation be enacted to admit foreign sheepherders and also that the
                          future importation of foreign sheepherders be governed by the H-2
                          temporary worker provisions of the INA and administered by the
                          Immigration and Naturalization Service (INS) (now, USCIS) and the
                          Department. H.R. Rep. No. 67, 85th Cong., 1st Session (1957).

                          Following the issuance of the Committee’s report, Congress permitted the
                          special legislation to expire. No additional legislation for sheepherders
                          has been enacted to date. The labor certification program for temporary
                          foreign sheepherders and goatherders was implemented consistent with the
                          H-2 program administered by INS (now, USCIS) and the Department.

           After Congress passed the Immigration Reform and Control Act of 1986 (“IRCA”), the
           H-2 program was divided into the agricultural H-2A program and the non-agricultural H-
           2B program. With IRCA, sheepherders came under the H-2A program, subject to special
           procedures that have been in place, in one form or another, since that time. DOL issued
           regulations for the H-2A program on June 1, 1987 (the “1987 Rule”).4 In the 1987 Rule,
           20 C.F.R. § 655.93(c) specifically provided for the continued use of “special procedures”
           in the sheep industry and the extension of such procedures to other range production of
           livestock.

                   DOL issued Field Memorandum No. 74-89 (FM 74-89), effective May 31, 1989,
           setting forth special procedures for temporary foreign herders. As stated in DOL’s Field
           Memorandum No. 24-01 (FM 24-01), the 1987 Rule “was based on past experience
           under the sheepherding program, and is consistent with the views of IRCA’s
           Congressional sponsors.” Further explaining the 1987 Rule in 2011, DOL stated that:

                          The 1987 regulations provided for the administration of the H-2A Program
                          by the Employment and Training Administration (ETA) Regional
                          Administrators, and instituted procedures to offset the adverse effects of
                          immigration on U.S. workers, procedures which did not exist until that
                          time. Although neither the IRCA amendments nor the INA specifically
                          address the employment of nonimmigrant foreign sheepherders and
                          goatherders in the U.S., the Department’s 1987 regulations established
                          special procedures for certain occupations, as long as they did not deviate
                          from the Secretary’s statutory responsibility to determine U.S. worker
                          availability and to make a determination as to the adverse effect of foreign
                          workers on the wages and working conditions of U.S. workers.
           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           4!54    Fed. Reg. 20496 (June 1, 1987).



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           TEGL 32-10 (76 Fed. Reg. 47256, 47257 [Aug. 4, 2011]). On August 1, 2001, DOL
           issued FM 24-01, which continued the special procedures set forth in FM 74-89. DOL
           next issued TEGL 15-06 on February 9, 2007. This TEGL reiterated (nearly verbatim)
           DOL FM 24-01.

                   The 1987 Rule was replaced in 2008 (the 2008 Rule)5 and again in 2010 (the 2010
                      6
           Rule) through notice-and-comment rulemaking. The 2010 Rule is currently in effect and
           governs DOL’s administration of the H-2A program, including the special procedures.
           The 2010 Rule explicitly authorize the OFLC Administrator to “establish, continue,
           revise or revoke” special procedures in order “[t]o provide for a limited degree of
           flexibility in carrying out the Secretary’s responsibilities under the Immigration and
           Nationality Act (INA), while not deviating from statutory requirements.” 29 C.F.R. §
           655.102. The 2010 regulations reference by name the “special procedures currently in
           effect for the handling of applications for sheepherders in the Western States (and
           adaption of such procedures to occupations in the range production of other livestock),
           and for custom combine harvesting crews.” Id. The regulations further provide that
           “[p]rior to making determinations under this section, the OFLC Administrator may
           consult with affected employer and worker representatives.” Id. After the 2010 Rule
           took effect, DOL issued new guidance for the special procedures at issue here in 2011
           (TEGL 15-06, Change 1, “Open Range Production of Livestock” and TEGL 32-10
           “Sheepherding and Goatherding”).
           !
                   Those two TEGLs were the subject of a lawsuit in U.S. District Court for the
           District of Columbia, Mendoza v. Solis, 1:11-cv-01790-BAH. DOL was a defendant in
           the Mendoza litigation, and MPAS and WRA intervened as defendants. While the
           District Court agreed with the Intervenors-Defendants that the Plaintiffs in that case
           lacked standing to bring the case, that decision was subsequently overturned on appeal to
           the U.S. Court of Appeals for the District of Columbia. The D.C. Circuit further ruled
           that the TEGLs issued in 2011 were “legislative rules” that required notice-and-comment
           rulemaking pursuant to the Administrative Procedure Act. The decisions in Mendoza
           required that the special procedures undergo notice-and-comment rulemaking to bring
           them into compliance with the requirements of the APA, but did not require the substance
           of the TEGLs be cast aside and radically re-written.

                  On remand, the District Court set a schedule that allowed DOL 5½ months to
           prepare the NPRM for issuance by April 15, 2015, with a Final Rule to be issued by
           November 1, 2015 and to take effect by December 1, 2015. Of the 6½ months between
           issuance of the NPRM and issuance of the Final Rule, DOL allotted only 30 days for
           public comment on the rule, later agreeing to a 45-day comment period after significant
           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           5!73    Fed. Reg. 77110 (Dec. 18, 2008).!
           6!75    Fed. Reg. 6883 (Feb. 12, 2010).



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           public outcry from the grazing livestock industry and from Congress. This is particularly
           ironic because the argument driving the Mendoza litigation giving rise to the current
           rulemaking was the lack of adequate opportunity for public comment on the special
           procedures.

                          Administrative Procedure Act Concerns

                   Beyond the disastrous substance of the rules discussed below, there are serious
           concerns with the procedure by which the Rule has been prepared. The truncated public
           comment period aside, it appears that the Department has failed to meet its procedural
           requirements for preparing and issuing the NPRM. The NPRM does not include a proper
           Initial Regulatory Flexibility Analysis (IRFA) of the Rule’s impact on the regulated
           community (nor on other parts of the U.S. economy or other agencies of the U.S.
           government). See 5 U.S.C. § 603. In particular, the only “alternatives” identified in the
           NPRM relate to the phase-in period for the new wage methodology: immediately, over a
           3-year period, or over a 5-year period. This does not come close to satisfying the
           requirements of Section 603(c), of describing “any significant alternatives to the
           proposed rule which accomplish the stated objectives of applicable statutes and which
           minimize any significant economic impact of the proposed rule on small entities.”7

                   The new definition of range production of livestock proposed in the NPRM
           represents a radical departure from statutory language, previous DOL regulatory text, and
           a long series of DOL guidance documents with respect to the special procedures for range
           production of livestock. The APA requires that changes in regulatory practice be based
           on an agency’s reasoned explanation for the change. The NPRM does not explain why a
           definitional change is necessary, does not identify any problem or confusion with the
           longstanding definition of the work covered by the special procedures, and makes no
           effort to explain why the particular definition chosen for the Rule is necessary or
           appropriate. As discussed below, the definition’s reliance on “unenclosed” land is at
           least 100 years out of date, suggesting that the reasoned explanation for the change
           required by the APA is not possible.

                          The Department of Labor Has Not Met its RFA Requirements

                  The NPRM openly concedes that it “will have a significant economic impact on a
           substantial number of small entities.” 80 Fed. Reg. 20330. The purported IRFA in the
           NPRM, however, contains only the most cursory analysis of the statutory factors from
           Section 603. The NPRM states that it is issuing the NPRM in response to the D.C.

           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           7!As  set forth in the comments of the American Sheep Industry Association and the Small Business
           Administration Office of Advocacy, all but 0.02% of the total sheep operations in the United States are
           small businesses. All or nearly all of the members of Mountain Plains and Western Range would meet the
           statutory definition of “small business” for agricultural enterprises.!!



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           Circuit’s decision in Mendoza and because of “the continuing difficulty the Department
           experiences in determining an appropriate AEWR using the current wage setting
           methodology.” Id. This explains why DOL is considering taking any action, but does
           not explain why the Department is considering this particular action.

                   The analysis of the impact of the Rule on small businesses contains a similarly
           brief discussion, contains repeated underestimation of the actual costs to be imposed, and
           fails to include a number of significant costs. Mountain Plains and Western Range
           contend that the defects inherent in the NPRM’s IRFA render the rulemaking invalid as
           contrary to the requirements of the APA and the Regulatory Flexibility Act. For
           example, the NPRM attaches no economic impact to the change in definition of “open
           range” – a change that will exclude an estimated 40% or more of the employers currently
           using the H-2A program in this industry, as discussed in greater depth below.

                   The NPRM takes the current workforce and provides a projection of the impact of
           the wage “transfer” from employers to workers. Unlike most economic analyses of
           proposed rules, this is not simply a transfer from employers to employees, normally a
           zero-sum prospect. Here, since very nearly 100% of the workforce consists of
           nonimmigrant foreign workers with little or no opportunity to spend money while in the
           United States, this is a transfer of tens of millions of dollars from U.S. employers to
           foreign markets. This is not a situation where U.S. workers would have more money in
           their pocket to spend within the U.S. economy, but rather, where all or nearly all of the
           paycheck of these workers is wired out of the U.S. to Peru or Mexico, where that money
           is used to build homes and buy consumer items there, a significant net loss for the U.S.
           economy.

                          The NPRM Fails to Consider the Impact of Forcing Ranches Out of Business

                   The NPRM does not analyze the cost to ranches of going out of business because
           of this massive wage increase or the change in the definitions of who may use the
           program, forcing them to sell their herds, their equipment, and their land into a buyer’s
           market as hundreds or thousands of other ranches face the same plight.8 If the Rule were
           to take effect as currently written, and all of the H-2A sheep producers were forced to
           slaughter 40% of the country’s sheep without being able to sell them to market (as would
           likely happen, since the world market could not absorb that influx of supply), the total
           loss would be $212 million, based on the total value of the U.S. sheep supply. While
           these are small employers in a single part of the economy, the direct losses associated

           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           8!The NPRM actually states that the Department of Labor estimates that the number of H-2A employers
           will increase from the current 560 to 669 by 2025 with the Rule in effect, based on “an annual growth rate
           of two percent.” 80 Fed. Reg. 20327. This statement alone demonstrates how fundamentally wrong
           DOL’s assumptions are and how much the Department misunderstands this industry and the terrible
           consequences of the Rule on these small businesses.



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           with them forced out of business would be huge, to say nothing of the “upstream” or
           “downstream” losses that would ensue.

                  The NPRM does not calculate the loss to rural communities if these ranchers are
           forced out of business by the Rule. Each of the jobs at issue in this rulemaking in the
           production of grazing livestock creates at least 8 full-time U.S. jobs, upstream and
           downstream, from suppliers to processors, truck drivers to shearers, supermarket clerks in
           rural Wyoming to butchers at a natural meat cooperative in New York City. Losing
           2,000 H-2A workers could mean the loss of tens of thousands of U.S. jobs. For small
           Western towns already battling to stay alive, this Rule could turn them into ghost towns.

                   Even for East Coast sheep operations that pasture-raise their sheep and cattle and
           do not use H-2A workers, the loss of Western livestock producers will cause shippers,
           shearers, and processors to go out of business, leaving them unable to continue their
           operations as well. No consideration is given to these workers or businesses in the
           NPRM, which somehow assumes (against the weight of all economic theory and the
           entire history of this industry) that employers have an unlimited capacity to increase
           wages and the economy will suffer no ill-effects from tripling or quadrupling labor costs
           in an industry that operates on razor-thin margins already.

                   Beyond the tangible economic cost of lost jobs, lost farms, and lost businesses,
           there would be an incalculable injury to the Western lands, themselves. Grazing
           livestock producers manage 250 million acres of Western land, and grazing activities
           contribute significantly to fire suppression, endangered species management (the
           protected sage grouse needs grasslands grazed to a reasonable height), and related
           conservation activities. The lands under the stewardship of the Department of the
           Interior, the Forest Service, and the Bureau of Land Management would suffer
           tremendously without the presence of range livestock producers.

                  The NPRM Fails to Properly Value the Costs of the Rule

                   On the more technical aspects of the Rule, beyond the two largest concerns with
           the definition of the job and the new wage methodology, the NPRM misunderstands
           and/or underestimates the impact that it will have on employers. The Rule proposes to
           change how camps or mobile housing facilities are used, introducing a “one worker to a
           camp” requirement. The NPRM does not include the cost of purchasing additional
           housing in its summary of costs per employer. 80 Fed. Reg. 20334. If it had, it would
           see that employers will have to spend $20,000 or more to purchase each additional camp,
           with some operations facing a bill of $80,000 to comply. Even that assumes that: (1)
           employers will be able to locate such housing in order to purchase it; and (2) they will be
           able to actually use the new housing. In Winter months, when the days are short and the
           nights are dark, it will be impossible for herders traveling on horseback and towing camp
           wagons to follow the sheep to be able to move the herd, move one wagon, then loop back



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           to move the second wagon before nightfall. These workers often travel over terrain with
           no roads, and the NPRM’s changes to housing create serious safety concerns. This is just
           one example of how the Rule will have far-reaching effects on this industry to an extent
           not analyzed by DOL in the NPRM (and perhaps not considered or understood by the
           Rule’s authors).

                   Even without considering all of the additional or “hidden” costs built into the
           changes in the rule9, the Department estimates that the additional costs will constitute
           between 19.5% and 24.1% of total revenue for sheep or livestock employers with 3
           workers, respectively. 80 Fed. Reg. 20334, Ex. 22. No justification is given for
           measuring the impact only for those employers with 3 workers, since the Colorado Wool
           Growers Association’s 2010 study (cited in the NPRM at 80 Fed. Reg. 20309 for an
           unrelated issue but ignored here) showed that its members used an average of 5
           workers.10 Across the entire Western portion of the U.S. the average number of workers
           per operation is at least 4, but even the extremely limited estimate used by DOL gives a
           good sense of just how costly the Rule will be. The 19.5% and 24.1% figures do not
           include the single largest additional financial burden of the Rule, the wage increases. The
           American Sheep Industry Association (ASI) estimates that labor costs make up 24% of
           the total operating costs for sheep ranchers. It is slightly disappointing but not ultimately
           surprising that the NPRM does not include a similar calculation of the percentage of total
           revenue that would be devoured by the new wage methodology. This is likely because
           the new costs and transfers proposed in the Rule will exceed total revenue for all or
           nearly all of the employers in this industry.

                   Despite having months and months to prepare the NPRM, DOL has failed to
           prepare a valid IRFA as required by the APA. Some of the costs of the Rule are
           unknowable today, given how radically the Rule proposes to change the longstanding
           practices of the special procedures program. Still, the Department should be expected to
           understand the harm that it proposes to inflict on small businesses before embarking on
           this course of action. To do otherwise is unwise and unlawful.

                          Definition of “Open Range” and Limits on “Incidental” Work

                  Together with the new wage methodology introduced in the NPRM and discussed
           below, the most devastating element of the proposed Rule is the definition of “open
           range” in 20 C.F.R. § 655.201 (proposed); 80 Fed. Reg. 20339. This goes to the core of
           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           9!For example, the NPRM estimates the additional cost of the increased water requirements in the NPRM at
           $1.0 million annually. 80 Fed. Reg. 20326-27. This estimate does not include the cost of purchasing
           additional trucks or water trailers (tens of thousands of dollars each), nor does it accurately estimate the
           average length of a trip from the ranch to a sheep or livestock camp. This estimate is extremely low and
           reflects the fundamental lack of understanding of the industry by the Department.
           10!Colorado Wool Growers Association, The Real Wage Benefits Provided to H-2A Sheep Herders and the
           Economic Cost to Colorado Ranchers (Mar. 5, 2010).



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           the special procedures and acts as a gatekeeper over whether employers may use the Rule
           at all or be excluded from the H-2A program altogether. The Rule states that:

                  These procedures apply to job opportunities with the following unique
                  characteristics:

                  (1) The work activities involve the herding or production of livestock, as
                      defined under § 655.201. Any additional job duties performed by the
                      worker must be minor, sporadic, and incidental to the herding or
                      production of livestock;

                  (2) The work is performed on the open range requiring the use of mobile
                      housing, as defined under § 655.201, for at least 50 percent of the
                      workdays in the work contract period because the worker is not
                      reasonably able to return to his or her place of residence or to
                      employer-provided fixed site housing within the same day. Any
                      additional work performed at a place other than the open range (e.g.,
                      an enclosed farm or ranch) that does not constitute the production of
                      livestock must be minor, sporadic, and incidental to the herding or
                      production of livestock; and

                  (3) The work activities generally require the workers to be on call 24
                      hours per day, 7 days a week.

           20 C.F.R. § 655.200(b) (proposed); 80 Fed. Reg. 20339. Proposed Section 201 contains
           definitions of the following terms:

                  Herding. Activities associated with the caring, controlling, feeding,
                  gathering, moving, tending, and sorting of livestock on the open range.

                  Livestock. An animal species or species group such as sheep, cattle, goats,
                  horses, or other domestic hooved animals. In the context of this subpart,
                  livestock refers to those species raised on the open range.

                  Minor, sporadic, and incidental work. Work duties and activities that are
                  closely and directly related to herding and the production of livestock and
                  are performed on no more than 20 percent of the workdays spent at the
                  ranch in a work contract period.

                  Mobile housing. Housing meeting the standards articulated under §
                  655.235 that can be moved from one area to another area on the open
                  range.




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                  Open range. Unenclosed public or private land outside of cities and towns
                  in which sheep, cattle, goats, horses, or other domestic hooved animals, by
                  ownership, custom, license, lease, or permit, are allowed to graze and
                  roam. Animals are not meaningfully enclosed where there are no fences
                  or other barriers protecting them from predators or restricting their
                  freedom of movement; rather a worker must actively herd the animals and
                  direct their movement. Open range may include intermittent fencing or
                  barriers to prevent or discourage animals from entering a particularly
                  dangerous area. These types of barriers prevent access to dangers rather
                  than containing the animals, and therefore supplement rather than replace
                  the worker’s efforts.

                  Production of livestock. The care or husbandry of livestock throughout
                  one or more seasons during the year, including guarding and protecting
                  livestock from predatory animals and poisonous plants; feeding, fattening,
                  and watering livestock; examining livestock to detect diseases, illnesses,
                  or other injuries; administering medical care to sick or injured livestock;
                  applying vaccinations and spraying insecticides on the open range; and
                  assisting with the breeding, birthing, raising, weaning, castration,
                  branding, and general care of livestock.

           20 C.F.R. § 655.201 (proposed); 80 Fed. Reg. 20339.

                    Understanding the need to distinguish when these “special procedures” would
           apply and when the general H-2A rules would apply, these definitions are inappropriately
           restrictive and are not a realistic reflection of the industry’s labor needs. In a recent
           survey that Mountain Plains conducted of its members, asking them whether their ranch’s
           operations using H-2A workers currently and for previous years would fit within the
           definitions quoted above. Of the 140 employer-members who responded, 45% of
           respondents indicated that their operation would NOT qualify as “open range” according
           to the definition in the NPRM. Of those respondents, 34% indicated that their operation
           would NOT qualify as “herding” according to the definition in the NPRM. This came as
           a shock to employers who have been using the H-2A special procedures program for
           many years and who now face the prospect of losing their workforce and, as a result, their
           family farm.

                  In place of those definitions, Commenters suggest the following:

                  Grazing Livestock Production System. A livestock production system
                  that is dependent on the sustainable utilization of herbage or forage on a
                  piece of land via grazing or supplementation. In the context of this
                  subpart, production refers to the processes and methods used to transform
                  tangible inputs (grasses, grazing, forage) and intangible inputs (sunshine



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                  and animal husbandry) into goods (protein, wool, by-products, and carbon
                  sequestration). Resources and practices are used to create animal products
                  that are suitable for consumption or further processing. Practices may
                  include but are not limited to: animal husbandry, temporary fencing,
                  permanent fencing, management of urban interface, transport of water for
                  animal use, use of structures and corrals to facilitate production practices,
                  assistance with production of feed sources for animals being cared for,
                  assistance with repair and maintenance of equipment and facilities used in
                  production practices, trailing livestock, assistance in loading and
                  unloading animals into livestock trucks for movement.

           This would address the need for a definition, make clear that feedlots and similar
           operations are not covered, and tie the definition to the critical component of the job, the
           grazing of livestock, rather than an arbitrary characterization of the housing, topography
           or landscape where the grazing is conducted, or where the herder’s work is to be
           conducted. Likewise, where the term “herding” is used in Section 655.210 of the
           proposed Rule, Commenters suggest “herding and grazing production of livestock” to
           maintain consistency and more accurately describe the job to be performed.

                  The Term “Open Range” is Antiquated and Should be Retired

                   The NPRM does not suggest that there has been any confusion as to what work
           would be appropriately covered by the existing special procedures, nor does it
           communicate any concern that workers not engaged in “herding” or “production of
           livestock” as defined above are being improperly included in the special procedures. The
           most recent TEGL for sheepherders and goatherders, TEGL 32-10, made two passing
           references to “the open range” but did not restrict access to the program to a particular
           definition of that term. The most recent TEGL for those involved in grazing livestock,
           TEGL 15-06, Change 1, did reference the term “open range” but did not define that term.

                   The FLSA’s exemption for this work applies to “any employee employed in
           agriculture … if such employee is principally engaged in the range production of
           livestock.” 29 U.S.C. § 213(a)(6)(E). The Wage & Hour Division (WHD) regulations
           interpreting this livestock production FLSA exemption (29 C.F.R. §§ 780.323 – 780.329)
           matches the NPRM’s language on some issues (e.g., the definition of “livestock” in
           Section 780.328; the recognition that the job duties necessitate remaining with the herd
           and “make the computation of hours worked extremely difficult” in Section 780.329) but
           differs from the NPRM in certain critical areas. The Commenters respectfully assert that
           the existing WHD regulations are a better fit for the definition of the jobs that have been
           performed under the special procedures for decades than is the NPRM.

                  For example, the WHD regulations use the phrase “range” instead of “open
           range.” Section 780.326 defines “range” as “land that produces native forage for animal



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           consumption” and specifically states that the “range may be on private or Federal or State
           land, and need not be open.” Furthermore, any part of a ranch beyond the “ranchhouse,
           barns, sheds, pen, bunkhouse, cookhouse, and other buildings in the vicinity… would be
           the ‘range.’” Section 780.329(b). The WHD regulations make clear that the worker’s
           “primary duty must be the range production of livestock” but acknowledges that “[t]he
           fact that an employee generally returns to his place of residence at the end of each day
           would not affect the application of the exemption.” Section 780.329(a). The critical
           distinction between ordinary agricultural work and work “on the range” in the WHD
           regulations is that the work is sometimes “performed away from the ‘headquarters’” (the
           specific buildings listed above) (Section 780.329(b)), and consistent with the legislative
           history of the exemption, it “was not intended to apply to feed lots or to any area where
           the stock involved would be near headquarters” but rather to situations where the herd are
           grazing under the supervision and protection of the workers in question. Section
           780.329(c). There are times when weather conditions require that the herd be brought to
           the ranch for periods of time, but that does not mean that the workers caring for them and
           herding them are not “principally engaged” in range production of sheep and livestock.

                   The NPRM uses (for the first time) the requirement that the herd be grazed on
           “[u]nenclosed public or private land outside of cities and towns” where they are “allowed
           to graze and roam.” 80 Fed. Reg. 20339. While that description might once have fit
           portions of the American West, it has no application to the present landscape. Stated
           simply, there is no such place. All of the land in the West (indeed, in the whole country)
           is owned either privately or by the Federal government or a State government. The
           “range” is less open every year. Fences line every highway and most roads throughout
           the West. Even within Federal lands, the U.S. Bureau of Land Management and USDA
           Forest Service have deployed fences to keep certain plant or animal species apart, to
           protect certain portions of that land, to keep grazing ungulates (wild or domesticated)
           away from rivers, streams or other riparian areas, or to restrict access for some other
           reason. These fences delineate boundaries and limit the access of people or certain larger
           wild animals, but generally do not restrict the movement of sheep. While there are still
           places in the West where one might not see a fence nearby, every parcel of land is
           bounded by fences at some point. Thus, the reference to “unenclosed” land is antiquated
           and would effectively eliminate this program.

                  Temporary Fencing Has Been Used Since the Beginning of this Program

                   The use of temporary fencing is an essential tool used by livestock production
           workers since before the beginning of the H-2A herder program and its predecessor
           programs, with DOL’s approval. Temporary fencing neither replaces workers nor
           diminishes the need for those workers. The NPRM mistakenly treats fencing as a
           substitute for these H-2A workers, apparently operating under a misperception that a herd
           can be led into a fenced area and left alone for the night or for longer periods of time.
           Nothing could be further from the truth. Temporary fencing is used to keep sheep away



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           from certain plants (either those grown by another farmer that must be protected or those
           that are hazardous to sheep who must be protected from the plants) and to keep them
           from falling into ravines or drowning in rivers. The U.S. Fish & Wildlife Service
           expressly requires that sheep grazing on certain U.S. Forest Service allotments be kept in
           “night pens” (temporary enclosures using electric fences) for purposes of “deterring bears
           and reducing grizzly bear/sheep conflicts.” A ban on the use of temporary fencing by the
           Department of Labor directly contradicts explicit requirements by the Department of the
           Interior and the Department of Agriculture.

                    Temporary fences are erected, taken down, and moved with the herd to avoid
           over-grazing a particular area of land, as many as 12 times per week in some areas. Even
           with fences, herders are still required to move the herd from place to place, to keep
           members of the herd from straying off, to tend to the medical needs of the herd and to
           provide adequate water, minerals, and additional feed as required, but perhaps most
           critically, to guard the herd from predators. Herders must be able to care for the livestock
           and travel through rough terrain, possibly on horseback. They may also be needed to
           handle a rifle when the time comes. A hungry mountain lion, coyote, or wolf (or even
           certain domesticated dogs) will not let a fence stand between it and a lamb dinner. The
           use of fencing is a valuable tool for herders but nothing replaces the watchful eyes and
           ears of a trained herder. Banning the use of this fencing will not protect U.S. jobs, but
           will make the jobs of herders far more difficult, and will result in the death of more
           animals and possibly more motorists.

                   The NPRM specifically requests comments on whether the definition of “open
           range” should include a minimum acreage of the land on which the animals roam. The
           phrase “open range” should be removed from the Rule entirely, and there should
           definitely not be a bright-line definition of acreage. Very often, the employer and the
           worker would have no way of knowing the acreage of a given parcel of land, making the
           application process and compliance efforts essentially impossible. In a similar vein, the
           NPRM asks whether the “open range” definition should take into account barriers, fences
           or other enclosures on the same land and, if so, under what circumstances. For the same
           reasons articulated above, the phrase “open range” is 100 years out of date and should be
           replaced with the simpler “range” definition from the WHD regulations or, better still,
           with a focus on the actual labor to be performed rather than on the topography of the
           landscape where it is to be performed, referring instead to workers involved in the
           production of grazing livestock.

                   By tying the work to “grazing,” the Rule would more than adequately avoid the
           potential scenario of applications for H-2A workers on feedlots. The WHD regulations
           recognize this and the distinction drawn between work on a feedlot and grazing
           operations remains viable and relevant. Commenters strongly urge the Department to
           reconsider its proposed definition in order to align the Rule with the WHD regulations
           and with the reality of the modern Western landscape.



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                  The 50% and 20% Rules Are Arbitrary and Unworkable

                   As quoted above, the WHD regulation regarding work “on the range” explicitly
           includes range work spent herding, tending to, and caring for grazing livestock, even
           where the “employee generally returns to his place of residence at the end of each day.”
           Section 780.329(a). The NPRM requires, instead, that workers must use mobile housing
           “for at least 50 percent of the workdays in the work contract period because the worker is
           not reasonably able to return to his or her place of residence or to employer-provided
           fixed site housing within the same day.” 20 C.F.R. § 655.200(b)(2) (proposed); 80 Fed.
           Reg. 20339. Under this proposed Rule, a sheepherder spending 182 days each year in a
           camp but the remaining time in a bunkhouse during lambing, docking, or castrating
           season would not be eligible under the Rule but would not be eligible under the regular
           H-2A provisions, either, since even 1 day is spent away from fixed-site employment and
           housing. This would be an absurd outcome.

                   The better approach would be to follow the existing DOL regulations in the WHD
           context, which look to the “primary duty” of the employee (Section 780.329(a)) or
           whether the employee is “principally engaged” in the range production of livestock,
           including all of the duties associated with that work (Section 780.325(a)). As the WHD
           regulations state:

                  To determine whether an employee is “principally engaged” in the range
                  production of livestock, one must consider the nature of his duties and
                  responsibilities. To qualify for this exemption the primary duty and
                  responsibility of a range employee must be to take care of the animals
                  actively or to stand by in readiness for that purpose. A determination of
                  whether an employee has range production of livestock as his primary
                  duty must be based on all the facts in a particular case. The amount of time
                  spent in the performance of the range production duties is a useful guide in
                  determining whether this is the primary duty of the employee. In the
                  ordinary case it will be considered that the primary duty means the major
                  part, or over 50 percent, of the employee's time.

           Section 780.325(a). Moreover, an employee spending more than 50% of his or her time
           during the year on the range in the production of livestock would be exempt “even
           though the employee may perform some activities not directly related to the range
           production of livestock, such as putting up hay or constructing dams or digging irrigation
           ditches.” Section 780.325(b). That definition includes a more holistic and flexible
           approach to the definition – maintaining the general rule that the worker is “principally
           engaged” or has a “primary duty” or spends the majority of his or her time out on the
           range, but recognizing that other work has historically been connected to that work and
           must be included in the definition of the job.



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                    The arbitrary and artificial 50% and 20% limits proposed in the NPRM are
           unworkable and treat work in the production of grazing livestock as a series of discrete
           tasks rather than the collection of work performed in service to the livestock and their
           needs. The NPRM makes no attempt to explain how the 20% “incidental activity” test
           would help U.S. workers.11 Nor does the NPRM offer any explanation of how H-2A
           foreign workers are being harmed by not having this 20% limit in place. What is the
           policy goal that this rule achieves? Without any effort to articulate a benefit to U.S. or
           foreign workers, the NPRM simply imposes this limit that will: (1) make it impossible
           for many current H-2A program users to utilize the H-2A program at all; and (2) impose
           tremendous recordkeeping and “HR” burdens on family farms to follow their workers
           and record every activity in which they engage. The work performed by these employees
           is often performed far from the ranch and to expect workers or ranchers to track their
           activities like a lawyer billing for his or her time would be impossible. Moreover, what
           possible benefit could result from attempting to do so? These “bright-line” limits on how
           and when this work should be performed demonstrate how little the Department
           understands this work and would be absolutely unworkable in reality.

                          Responses to NPRM Questions About the Work to be Performed

                   The NPRM solicits specific comments on a number of questions as to the season
           in which the work is performed, the nature of the job duties on the range vs. at the ranch,
           and the time period and location where such work is performed.12 The general response
           is that the work is performed on an “as the need arises” basis, and there is no single
           description of a worker’s typical day. The work is defined first and foremost by the
           needs of the animals in the herder’s care. During lambing, kidding, and calving season,
           the days are longer and the work is focused on the healthy birthing of new animals.
           Those duties occur at certain times of the year according to the natural cycles of the
           seasons and the animals. In parts of the West, employers use fixed structures (known as
           “sheds”) to keep livestock and their offspring safe and healthy during the birthing
           process. Other ranches perform birthing in open-air pastures. The amount of time spent
           assisting with this phase depends on the natural conditions of the male and female
           livestock.


           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           11!Of  all the complaints raised by the Mendoza plaintiffs, none of them related to the amount of “incidental
           activity” that was included in the job. The job of a herder includes all of the duties related to caring for and
           herding the grazing animals, and there is no black-and-white distinction between what is primary and what
           is “incidental” work.
           12!Commenters note, as an aside, that the answers to these questions have not changed dramatically over
           the past 60+ years of this program and that, if the Department of Labor had been willing to follow through
           on its repeated promises of accepting stakeholder input and engaging with the industry, it would have all of
           these answers already.



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                   Responding to health emergencies experienced by the animals can occur at any
           time of the day or night, as can responding to threats from predators. The time spent in a
           particular grazing area before moving to another is dictated by the amount and type of
           forage available. Different plants grow at different rates and are consumed by the herd at
           different rates. The NPRM seeks specific comment on a number of issues related to the
           season and time spent by H-2A workers on particular tasks, and the Commenters offer
           the following brief responses to those requests.

                   With respect to the 10-month limitation for “livestock” occupations compared
           with the longstanding 12-month limit for sheep and goat work, the Commenters strongly
           urge the Department to keep those existing limits in place in the Rule. Switching the
           sheep and goat job orders to a 10-month limit would not fully meet the needs of those
           industries and would put herders and herds in jeopardy if workers were required to switch
           in or out during the middle of the grazing season. All of these animals require year-round
           care, and the 10-month limit for livestock other than sheep and goats should be extended
           to match the 12-month limit for workers caring for those animals.

                   Regarding the differing functions for sheep and goat herders in a particular
           region, the key distinguishing factor in any region and at any given time of year is the
           weather. These occupations are subject to both the expected changes in weather
           throughout the year as well as the unpredictable weather conditions that can change in a
           matter of minutes. In warmer weather, herders must transport and provide additional
           water to the herd, while in winter months, they must be careful of snow and ensure that
           the herd has sufficient food. In various climates, the work will depend on the particular
           reproductive cycle of the animals. The work is ongoing and while variable, it is
           impossible to establish definitive “seasons” due to entirely too many variables beyond the
           control of the employer or the herder.

                   The NPRM asks for the length of time within which employees are on the “open
           range” as opposed to being at the ranch. As discussed at some length above, the by-gone
           notion of the “open range” is misinformed and misleading. The location of the work is
           not the determining factor in defining the occupation. The occupation is defined by the
           care and management of grazing livestock, with all of the tasks and duties that go with
           that responsibility. What is best for the health and safety of the herd will dictate where
           and when the herd must be (and where the herder must bring them). For some
           operations, weather may require a sheep producer to use a fixed structure (lambing shed)
           to keep livestock and newborn offspring safe and healthy during and immediately
           following the birthing phase of production. However, the length of time that a given
           worker may be assisting with the birthing phase would depend on the vagaries of the
           reproductive cycles of the particular sheep under his care.

                 The description of the occupation above is linked inextricably to the care and
           management of grazing livestock. The NPRM seeks further information about the duties



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           typically performed by these workers. Again, the specific duties will vary from day to
           day or month to month, but are all tied to the needs of the herd. The job orders filed by
           the Commenters reflect a sizable list of potential job duties to ensure that the H-2A
           workers are not working “out of contract” and to advise potential applicants of the nature
           of the work that would be performed. The following language that the American Sheep
           Industry Association submitted to DOL in Fall 2014 is non-exhaustive, and specific to
           sheep and goat herding, but gives a general sense of the work performed by herders:

                          Attends sheep and/or goat flock grazing on the range or pasture. Herds
                          flock and rounds up strays using trained dogs. Beds down flock near
                          evening campsite. Guards flock from predatory animals and from eating
                          poisonous plants. Drenches13 sheep and/or goats. May examine animals
                          for signs of illness and administer vaccines, medications and insecticides
                          according to instructions. May assist in lambing, docking, and shearing.
                          May perform other farm or ranch chores related to the production and
                          husbandry of sheep and/or goats.

           As for the question of during what time period each duty is performed, the only real
           answer is “as the need arises.” There is simply no way to set a specific time for these
           duties. Even a fairly regular event like birthing will vary depending on the particular
           geographic location – lambing season comes to different places at different times.14

                  Above all else, weather is probably the single largest factor in determining what
           work must be done and where it may be performed. For example, wet and rainy weather
           may require that the herd be moved to the ranch to separate lambs for sale. In drier
           conditions, this can take place at facilities out on the range. The members of the two
           Commenter associations are spread across thousands of miles of the American West, with
           extreme differences in climate and topography. These differences help dictate whether
           lambing can be conducted in the open air on the range or must be done in sheds. Drought
           conditions in certain areas dictate how often a herd must be moved and where they would
           be able to graze, as can excessive snow or rain. The herder understands all of these
           various conditions and makes daily decisions as to where and when activities will take
           place based on the health and welfare of the herd entrusted to his care.

                          Wage Methodology

                  The NPRM proposes an extreme departure from the wage methodology that has
           been in place since the beginning of this program decades ago. The result of this
           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           13!A de-worming process to remove certain parasites.
           14!This is one of the reasons why it is critical for Western Range to preserve its ability to transfer workers
           between its employer members so that they can assist with the lambing season in California and then go
           help with lambing operations in Wyoming or Colorado that may occur at a different time.



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           departure is tripling or quadrupling the wages that must be paid by employers.
           Abandoning the history of the program, cutting out the role of the state workforce
           agencies, and ignoring the unique characteristics of the herding industry, the NPRM
           proposes a one-size-fits-all wage methodology taken from crop agriculture.15 Rather than
           continuing to honor the well-established wage methodology that looks to the wages
           actually earned in this occupation, the Department has pulled a wage out of thin air based
           on a survey of aggregated farmworker positions except herders. Those positions pay by
           the hour, and do not provide housing or food, making those rates of pay completely
           inapposite to the range production of livestock.

                   The rationale cited by the Department in the NPRM does not provide a reasoned
           explanation for the proposed change. Nor does the NPRM include the required analysis
           of alternative wage methodologies that would address the concern with the lack of survey
           respondents stated in the NPRM without imposing the non-herding Adverse Effect Wage
           Rate where it does not belong and does not work. The Commenters have provided two
           different alternative wage methodologies below, in addition to the proposal that was
           submitted to the Department in Fall 2014. Those proposals offer a better fit for this
           industry, solve the concern with survey responses, and even provide a future solution to
           prevent wage stagnation. The Department should adopt one of these alternative wage
           methodologies.

                          Proposed Wage Methodology

                  The Proposed Rule abandons the decades-old practice of state workforce agencies
           conducting surveys to determine the appropriate wages for workers involved in the
           production of grazing livestock under the H-2A program. 80 Fed. Reg. 20300, 20307.
           The reason offered for doing so is:

                          the dearth of information available to [DOL] through these surveys
                          regarding the actual wages paid to U.S. workers. Often, and almost
                          always more recently, the SWAs determine that there are no survey results
                          or the survey does not return statistically valid results. Thus, for many
                          years, the Department has been unable to determine a statistically valid
                          prevailing wage rate each year in each State in which one is needed,
                          requiring the OFLC Administrator to set the AEWR based on other data or
                          to use the survey results from another adjoining area or State.



           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           15!The  NPRM seems to be infected by the Department’s apparent decision to turn its back on decades of
           precedent and clear Congressional direction that range herding is to be treated differently from other
           agriculture and subject to different requirements. This history is included in the brief filed by Commenters
           with the District Court in the Mendoza litigation, attached hereto as Exhibit A.



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           Id. The result of this lack of valid survey data in recent years is the perceived stagnation
           of wages, with the NPRM comparing the monthly wage rates from 1994, as taken from a
           1993 memorandum from Barbara Ann Farmer, Administrator of the Office of Regional
           Management, and the wages in place in 2015. The NPRM notes that wages have not
           increased significantly during the period from 1994-2015 because new wage
           determinations rely on the previous year’s determinations, and so forth.16 Id.

                   The NPRM does not assert that the state surveys were invalid in 1994 or previous
           years, simply that the more recent surveys have not produced sufficient results from
           which to set a higher wage level. Id. For what it’s worth, the validity of the 1994 survey
           results was not challenged in the Mendoza litigation by Public Citizen or Legal Services;
           those groups argued only that the current wage levels were inappropriately low. The use
           of the state surveys in the early years of the H-2A herder program was part of the larger
           recognition that this work is fundamentally different from crop agriculture for which the
           overwhelming majority of H-2A visa holders are employed. For example, workers
           “principally engaged in the range production of livestock” are explicitly exempt from the
           minimum wage and overtime requirements of Section 206 of the Fair Labor Standards
           Act. See 29 U.S.C. § 213(a)(6)(E).

                   In place of the longstanding program of a monthly salary based on state surveys,
           the NPRM proposes to use the data from the semi-annual Farm Labor Survey (FLS)
           conducted by the National Agricultural Statistics Service (NASS) of the USDA. 80 Fed.
           Reg. at 20308. The FLS provides wage averages for four types of workers: field
           workers, livestock workers (primarily dairy or poultry farms or feedlots, including
           graders, sorters, packers, and equipment operators), supervisors, and “other” workers not
           included in the first three categories. The NPRM proposes to aggregate states into 15
           multi-state groupings, determine the average wage level from the FLS data for that
           grouping, and require that workers involved in the production of grazing livestock be
           paid that rate multiplied by 44 hours/week and 4.33 weeks per month.17




           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           16!Wage rates for California and Oregon are the exception, since those states’ herder wages are set by
           statute (Cal. Labor Code § 2695.2(a)) and judicial settlement (Zapata v. Western Range Ass’n, Civ. N. 92-
           10-25, 244L (Ore. 1994), respectively. As a result of these alternative methods, California’s minimum
           salary is $1,600.34 per month as of July 1, 2014, set to increase on January 1, 2016 to $1,777.98. Oregon’s
           court-ordered minimum salary is $1,319.07 per month in 2014 and increases each year to reflect inflation
           and changes in the price of food, for which each methodology allows an employer credit.
           17!The NPRM acknowledges DOL’s receipt of correspondence on this issue from Mountain Plains and
           from the American Sheep Industry Association. 80 Fed. Reg. 20309, nn. 17, 18, 20. The wage
           methodologies included in those documents, however, are not referenced in the NPRM and are not part of
           the Department’s required consideration of alternatives to the proposed rule under the Regulatory
           Flexibility Act.



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                          The Proposed Wage Methodology is Misguided

                   The use of the generic “Adverse Effect Wage Rate” (AEWR) used for H-2A crop
           agriculture is inappropriate for use for H-2A workers involved in the production of
           grazing livestock. First, the NPRM concedes that there were no more than 18 “domestic
           workers performing sheepherding” in FY 2014. 80 Fed. Reg. 20314. That number has
           been declining steadily in past years, according to the NPRM: 30 in FY 2012 and 26 in
           FY 2013, so the figure for FY 2016 could be even lower still. Id. The danger of any
           “adverse effect” on this minuscule domestic workforce is beyond negligible, particularly
           as compared to the larger agricultural community, for whom the AEWR is most often
           used. Second, the FLS data reflects the full amount of “take home” pay that the average
           farmworker receives. From that paycheck, however, that worker must make rent or
           mortgage payments, must purchase food at the grocery store, and must purchase his or
           her own work clothes. The remaining earnings, if any, can be used as disposable income
           on consumer goods or to go out to dinner or a concert or a bar on the weekend.

                   By contrast, grazing livestock production workers receive, 100% free of charge
           and with no credit to the employer, housing, food, and clothing, and spend most or all of
           their time in remote areas and therefore do not tend to frequent stores or restaurants or
           bars. Many H-2A herders have 100% of their monthly salary wired home to their
           families in their home country. The 2010 Colorado Wool Growers Report cited earlier
           found that the base salary of $750/month produces an “actual wage” of $1,638/month
           when living expenses were included. The wage proposals included below, under that
           same analysis, would yield “actual wages” of well over $2,000/month.

                          The Proposed Wage Methodology Will Destroy this Industry

                   The result of this proposed methodology will be to nearly double the wages of H-
           2A workers in the first year and more than double, triple, or quadruple those wages by
           2020 when the full weight of the wage increase is imposed on employers. The NPRM
           forecasts monthly wage rates between $2,125 and $3,244. 80 Fed. Reg. 20318, Ex. 6.
           The NPRM identifies no other wage methodology 18 as a potential solution to the
           concerns with the state surveys, and the only alternatives considered in the NPRM were
           whether to impose this massive additional wage burden on employers immediately,
           phased in over three years, or phased in over five years. As the least destructive option in
           the short-term, the five-year phase-in is the best of three terrible choices presented, but
           this is a false choice and ignores numerous alternatives that would achieve the
           Department’s “competing goals” under the INA “to provide an adequate labor supply and
           to protect the jobs of U.S. workers.” 80 Fed. Reg. at 20308. The wage methodology
           proposed in the NPRM neither provides an adequate labor supply nor protects the jobs of
           U.S. workers.
           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           18!Again,        despite Mountain Plains, Western Range, and ASI submitting specific alternatives months ago.



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                   Instead, the proposed wage methodology makes it absolutely impossible for U.S.
           ranchers to access an adequate labor supply by pricing that labor far beyond what could
           be paid in the current market. Even if the doubled or tripled wages would attract more
           workers (which they have not and will not, as discussed below), no employer could
           afford to pay those wages, making it impossible to use the H-2A program at all.
           Furthermore, the NPRM itself states that there are 18 or fewer domestic workers in this
           industry. See supra. The NPRM estimates the cost of the Rule to employers (including
           net costs and “transfers” of wage payments to workers) at more than $50 million per year,
           on average for the next ten years based on the five-year phase-in plan. 80 Fed. Reg.
           20329, Ex. 21. Once the new system is fully in place, the NPRM forecasts an annual cost
           of $63.6 million per year. Even if there were still 18 U.S. workers by then (a highly
           unlikely scenario, given the decades-old trend), the Rule would cost employers more than
           $3.5 million per year for each of those workers at that rate. That is not a “balanced”
           approach to resolving the Department’s perceived “competing goals” under the statute.

                   Given the market values for the meat and wool that ranchers are able to secure for
           their products, the absurd result outlined above will never come to pass. This is because
           all or nearly all of the employers of grazing livestock will be forced to sell off their herds
           for slaughter, sell their family ranches, and go out of business long before those full costs
           could be felt. A study by the University of Wyoming, submitted with these comments,
           compared historic market trends for lamb and wool for the past 20 years with the labor
           and operation costs for ranchers on a per-ewe basis.19 Based on the current Wyoming
           herder minimum monthly salary of $750, a rancher would need to have total receipts per
           ewe of at least $97.85 just to cover operating costs.20 Over the past 20 years, the market
           would have allowed the average Wyoming ranch to break even on these costs 85% of the
           time, resulting in a relatively stable population of employers. Under the wage rate for
           Wyoming set forth in the Rule, of $2,402.96 for 2020 and subsequent years, a rancher
           would need to book a return of $137.45 per ewe, something that has only happened 30%
           of the time during the past 20 years. Thus, for 14 years out of 20, the ranch would lose
           money as a direct result of the NPRM’s proposed wage methodology. Factoring in
           ownership costs lowers the odds for the ranch by creating annual losses in 11 years out of
           every 12 for the average ranch. That is an extinction scenario for employers; there is
           simply no way for any employer to sustain losses year in and year out for that long.

                   Specific examples highlight how destructive the proposed wage methodology will
           be. This is not a situation where employers are simply taking the standard stance against
           increasing wages and slightly reducing their marginal profit. Rather, the proposed rule
           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           19!As  discussed above and in the Bronars Report, U.S. producers have no ability to raise their prices for
           meat and wool and remain remotely competitive in the world market.
           20 !A higher return would be required to cover additional “ownership costs” such as purchasing the
           livestock, other overhead, and maintenance costs on housing, machinery, equipment, and vehicles.



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           would completely erase any profit and force ranchers to operate at a loss almost
           immediately and for all years to come. For example, a rancher in Oregon, already paying
           wages well above those in other states, faces an increased wage bill of $35,000 in 2015,
           climbing to $66,000 by 2020. The average profit margin for the ranch has been $25,000
           for the past four years, making even the phased-in increase unmanageable with no relief
           in sight. In a survey of more than 200 Mountain Plains members, each of them stated
           that they would be forced to downsize their workforce and herd size immediately and
           most would be forced to sell off their operations within a few years.

                  The Damaging Proposed Wages Will Not Attract U.S. Workers

                   To the extent that the Rule is intended to increase wages in order to attract more
           U.S. workers into the occupation, that policy is misguided for several reasons. First,
           unlike some farmworker jobs in crop agriculture, for which no experience is required or a
           brief training session would suffice, the unique skills required of this job make it
           impossible for someone to walk off the street and begin working. The H-2A workers
           who comprise the current workforce have grown up doing this work, riding horses,
           tending herds, and living in the mountains. Virtually no U.S. workers can say the same.

                   Second, higher wages are no guarantee of more applicants. As a test for what a
           massive increase in wage rates would do, the Department need look no further than
           comparing the recruitment history of employers in Rocky Mountain states with a monthly
           pay rate of $750 or $800 with that of employers in California with a wage rate set by state
           law at $1,600/month. Under the Department’s theory that doubling or tripling wages
           would lead to more qualified, willing, and able U.S. applicants for those positions, the
           facts over the past 14 years since California changed its wage rules for herders simply do
           not support that conclusion.

                   In the past 4 years, dating back to March 2011, during which time the Rocky
           Mountain states and California have had the herder wage rates listed above, Western
           Range and Mountain Plains combined have received only a handful of applications from
           U.S. workers for more than 1,500 open positions each year. Of those applicants, an
           average of two or three per year have the minimum qualifications to perform the work
           required and are hired. During that entire 4-year time period, Mountain Plains has had a
           grand total of 18 applicants for approximately 400 “sheepherder” or “goat/sheepherder”
           positions in California, an average of 4 applications per year. Of those 18 prospective
           U.S. workers, 10 had no experience whatsoever and were not qualified for the work. The
           remaining 8 withdrew their applications because they were not interested in the job.

                  There are actually fewer applicants in California and fewer U.S. workers that take
           the jobs advertised there as compared to states like Wyoming or Colorado, regardless of
           the wage levels. Having a wage rate twice that found in most of the Mountain West for
           these positions has not led to an increase in U.S. workers coming forward to do this work



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           in California, contrary to the arguments underlying the Mendoza plaintiffs’ complaint or
           the Department’s proposed wage increases. This is not a question of wage levels but one
           of lifestyle. Workers from Peru, Chile, Mexico, or Mongolia are familiar with this
           lifestyle and take work here so that their families and communities at home can have a
           much better life. Workers in the U.S. have, almost without exception, proven to be
           uninterested in this remote and rugged way of life, and year after year, they have left the
           occupation and taken 9-to-5 jobs in cities and towns.21

                    When California switched from a survey-based model to a much higher statutory
           rate, it forced livestock producers there to cut back on the size of their herds, hire fewer
           employees (U.S. and H-2A), and to ask their remaining workers to take on more
           responsibility in order for the ranch to survive. Under the NPRM’s definition of the job
           for purposes of the Rule, workers will not be able to take on additional duties related to
           the production of livestock, despite the obvious economic pressures to do so. The one-
           two punch of the Rule will make each worker far more expensive but able to perform far
           less work.

                   If the Department wishes to increase wages for livestock production workers out
           of a perception that the survey-based rates in place for the past 20 years are inaccurate,
           the proposals identified below would address that concern. If, however, the Department
           aims to massively increase wages by a factor of 3x or more in the interest of bringing
           qualified, willing, and able U.S. workers “out of the woodwork” to take these jobs that
           have always been available, then that policy is misguided and directly contradicted by the
           reality and experience of this occupation.

                   To the extent that the Department is proposing to dramatically alter the
           longstanding rules governing this part of the H-2A program, the Commenters would
           propose that DOL re-visit these rules after they have been in place for a period of time, in
           order to determine whether the new Rule has achieved the Department’s policy objectives
           of drawing more U.S. workers to this profession. If two or three years pass without a
           significant reversal of the decades-old (indeed, generations-old) trend of U.S. workers
           leaving or staying out of this occupation, then the Commenters would ask the Department
           to review the burdensome rules to be imposed and reconsider whether the balance
           required by the INA between providing a workforce and protecting U.S. workers has
           been properly struck or not.

                          Alternative Wage Proposals

                 For the reasons set forth above, the wage methodology proposed in the NPRM is
           grounded on poor logic and would destroy the livestock grazing industry in short order.
           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           21!Thisis particularly true today, with high-paying jobs in the oil and gas sector throughout the West
           making it more difficult to fill agricultural jobs of any sort, let alone range herding jobs.



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           The AEWR times 44 hours/week and 4.33 weeks/month model is unworkable, but
           Mountain Plains and Western Range take this opportunity to suggest alternatives.
           Mountain Plains, Western Range, and the American Sheep Industry Association
           submitted a wage proposal in October 2014 to the Department that was referenced but not
           analyzed in the NPRM, and we ask that the Department consider that proposal in addition
           to those set forth below. In response to the specific question about deducting the cost of
           food from wages, the ASI proposal included an excellent discussion of this point – both
           as to the appropriateness and the amount of such deduction – looking to the USDA
           “liberal” meal plan to best reflect the protein-rich diet appropriate for active young to
           middle-aged men working outdoors in high-altitude environments.

                  The wage proposals included below do not include such a deduction, but the
           Commenters encourage the Department to consider permitting one, or at least permitting
           a deduction reflecting the difference between the more extensive and more expensive
           food provided to these workers compared to the subsistence and meal charges that the
           Department uses for other workers. Allowing a partial or complete credit for the food
           provided would bring this part of the H-2A program in line with the rest of the program,
           while preserving the existing incentives to provide these workers with the best possible
           food.

                  Proposal #1 – Inflation-Updated Wage Rates

                    The only problem that the NPRM identifies with the state-survey-based wage
           methodology in place for more than 60 years for this industry is that the dwindling
           number of U.S. workers in the occupation has made it increasingly difficult to conduct a
           statistically valid survey of those workers. As a result, the once-valid survey results have
           become frozen in time. The NPRM offers no argument that the surveys conducted by the
           state workforce agencies were not valid at the time that they were prepared. The NPRM
           cites 1994 as the last year for which such surveys were conducted with statistically valid
           results, and the Department has essentially used those results for more than 20 years since
           that time.

                   Rather than scrap the old methodology that benefited from the expertise of the
           state workforce agencies and looked to the actual wages being paid in this occupation, a
           methodology that the Department of Labor recognized and relied upon, and impose a
           wage system better suited for crop agriculture, there is a way to update those survey
           results to the present day labor market and also to create a path forward to avoid future
           wage stagnation. The key is the Bureau of Labor Statistics’ Employment Cost Index
           (ECI) for wages and salaries, considered to be the most accurate measure of inflation in
           wages and salaries.

                 In the stakeholder-negotiated, bipartisan, Senate-passed comprehensive
           immigration reform bill in the last Congress, S. 744, agricultural employers and the



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           United Farm Workers agreed to a wage methodology for nonimmigrant agricultural
           workers that provided for guaranteed annual increases in farmworker wages in order to
           eliminate the danger of wage stagnation. In Section 2232 of the Bill, a new Section 218A
           in the INA would have been created. Section 218A(f)(3)(B) provided an “escalator”
           clause tied to the ECI. After a one-time shift to a base wage rate with a multi-year phase-
           in, future wage rates would increase annually as follows:

                  •       By 1.5% if the percentage increase in the ECI during the previous calendar year
                          were less than 1.5%;
                  •       By the percentage increase in the ECI if such percentage were between 1.5% and
                          2.5%, inclusive, in the previous calendar year; or
                  •       By 2.5% if the percentage increase in the ECI exceeded that amount in the
                          previous calendar year.

           This proposal won the approval of Senators from both political parties, the UFW, and
           agricultural employers by providing for a guaranteed raise each year on a defined
           inflation “track” of between 1.5% and 2.5%.

                   Using that same agreed-upon methodology, it is possible to start from the highest
           state survey figure of $800 and apply this inflation track from 1994 to the present to get a
           current version of what had been a valid monthly salary in 1994. Going forward, using
           that updated monthly figure as the starting point, Mountain Plans and Western Range
           would propose this same ECI-based inflation model for calendar years 2017 and beyond,
           guaranteeing consistent and predictable increases in the wage rate for years into the
           future. Bear in mind, ranch owners do not enjoy the same guarantee of future price
           increases for the meat and wool that these workers produce. By offering this proposal,
           they understand that they are agreeing to absorb increased risk as to future profitability in
           an extremely difficult international marketplace.

                  As set forth in the attached report of labor market economist, Dr. Stephen
           Bronars, taking the highest of the existing state-conducted survey results from 1994
           ($800/month)22 and updating that figure from 1994 dollars to 2015 dollars using the ECI-
           model described above yields a monthly wage rate of $1,280.73 in 2015 dollars.
           Mountain Plains and Western Range propose that wage rate as the base wage rate for
           2016.
           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           22!As  noted in the NPRM at 80 Fed. Reg. 20307, the survey-based rates for that year for monthly rates of
           pay were actually $650/month for three states, $700/month for nine more, and $750/month for the other.
           The Commenters offer the $800/month figure as the base rate, recognizing that this is higher than any of
           those rates and higher than the $772.53 average of the five historic and current wage rates identified in the
           NPRM. They do so in the spirit of cooperation and the interest of stable future wages. The Bronars Report
           also includes the ECI-adjusted 2015 wage levels for those lower survey-based 1994 salaries ($1,040.59,
           $1,120.64, and $1,200.68, respectively), and the Commenters would welcome the use of any of those
           figures as well.



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                   The following table sets forth the resulting range of wages for the upcoming
           years, showing the 1.5% and 2.5% increase levels with an averaged 2.0% assumption for
           calculating the next year’s high-low range.23 The NPRM proposes a five-year phase-in
           under which employers would pay 60% of the full amount in 2016, 70% in 2017, 80% in
           2018, 90% in 2019, and the full rate of pay in 2020 and beyond, since “the full wage
           increase in a single year could lead to significant disruptions that might cause job losses
           that could be avoided by a gradual implementation period.” 80 Fed. Reg. 20314. If DOL
           were willing to use this inflation-based model instead of the crop agriculture AEWR
           model, the full phase-in period would not be required, and Mountain Plains and Western
           Range would propose a shorter and more level 4-year phase-in, starting at a higher initial
           percentage (80%, 85%, 90%, and 100%).

                                         1.5%                                2.5%      Phased 1.5%   Phased 2.5%
                                                                                        $1,024.58     $1,024.58
             2016                   $1,280.73                              $1,280.73
                                                                                          (80%)         (80%)
                                                                                        $1,104.95     $1,115.84
             2017                   $1,299.94                              $1,312.75
                                                                                          (85%)         (85%)
                                                                                        $1,193.35     $1,205.10
             2018                   $1,325.94                              $1,339.00
                                                                                          (90%)         (90%)
             2019                   $1,352.46                              $1,365.78    $1,352.46     $1,365.78
             2020                   $1,379.51                              $1,393.10    $1,379.51     $1,393.10

           As with Proposal #2, discussed below, this proposal involves a single national rate,
           subject to the exceptions for California and Oregon to the extent that those states would
           require a higher monthly salary under their own methodologies. Because food, housing,
           and clothing would already be provided by the employer, the differences in cost of living
           from state to state would be irrelevant and the monthly salary would effectively be 100%
           disposable income for the workers.

                   This proposal still constitutes a massive increase in wage costs for ranchers –
           hundreds of dollars per worker per month – but is at least potentially a burden that some
           ranchers can survive, unlike the AEWR approach proposed. As set forth in the
           University of Wyoming study discussed above, wages in this range will be difficult for
           ranchers to absorb and may put many out of business. Ranches still have no better than a
           60% chance of breaking even in any given year, but it offers more years in the black than
           years in the red, and that may be enough to keep this industry alive. Wages under this
           methodology at least give the majority of ranchers a fighting chance to survive them and
           to preserve their family farms. The same is not true of the rates proposed in the Rule.
           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           23!The  actual wage levels will obviously be slightly different, particularly in later years, depending on the
           actual ECI rates in the early years, but this offers a reasonable forecast of the range of wages in the next
           five years.



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                   This model also squarely addresses the concerns raised by the Mendoza plaintiffs.
           The only monthly salary proposed by the Plaintiffs in the Mendoza litigation came from
           lead plaintiff Reymundo Zacarias Mendoza, who submitted a sworn declaration stating
           that “I would be willing to work as a herder if the employer paid $1,300 to $1,500 per
           month.”24 This model meets that requirement. It also addresses the concern that DOL
           raised in the NPRM regarding wage levels: the nearly complete absence of U.S. workers
           in this occupation makes state surveys impossible and current wages are out-of-date and
           frozen in place as they rely on the valid 1994 surveys. By updating the 1994 wage rate to
           present dollars and setting a course for guaranteed future increases, this model solves that
           problem while retaining the program’s roots in valid state surveys rather than abandoning
           the history of the program and looking to irrelevant and inaccurate outside data.

                   The proposal to base the herder salaries on FLS data fails to recognize that
           herders receive housing, meals, transportation, clothing, and utilities for free from their
           employers. The Bronars Report compares the disposable income of herders with that of
           other blue collar workers in various cities throughout the Mountain West, using the
           earning levels of workers moving freight, stock and materials by hand and data taken
           from the U.S. Department of Housing and Urban Development, USDA, and DOL’s
           Bureau of Labor Statistics. The amount of “disposable income,” i.e., what is left in the
           worker’s pocket after paying for rent, food, utilities, and transportation (which would be
           an H-2A herder’s entire pay check), varies slightly, but is between $308.01 in Flagstaff,
           Arizona and $815.75 in Boise, Idaho, with the differences relating to income levels and
           fair market rental values. At either end of that range, the herder wages proposed above
           would be two to four times those levels, as compared to three to eight times those levels
           in the NPRM’s proposed methodology. This does not account for the huge increase in
           spending power of these U.S. dollars in rural Peru, where the money will actually be
           spent, but even for the rare U.S. worker willing and able to do this job, the wage rates
           proposed by the Commenters would lead to a significant increase in his or her standard of
           living, as compared to similar jobs in this area.

                          Proposal #2 – FLSA Rate in place of AEWR

                   If DOL is determined to transition away from a survey-based monthly salary in
           favor of a monthly salary using the 44-hour week estimate and a base wage rate,
           Commenters submit that the Federal Minimum Wage of $7.25/hour is a more reasonable
           starting point than the Farm Labor Survey based AEWRs, which are projected to range
           from $11.19 to $17.02/hour in the states in which this work would be performed by the
           time of full implementation. Unlike the ASI proposal from 2014, this proposal would not
           follow the California and Oregon model and give credit for food and housing. The
           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           24 !This
                  statement appears at ¶ 11 of his Declaration, Doc. 26-1, filed in opposition to Intervenors-
           Defendants’ Motion to Dismiss, and is dated January 27, 2012.



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           $7.25/hour in the FLSA was intended by Congress to serve as a living wage, and those
           paid at that rate must purchase their own food, housing, and clothing from those earnings.
           Thus, paying that full amount to workers involved in the production of grazing livestock
           amounts to double-pay of thousands of dollars per season worked. Still, this is a more
           reasonable approach than that proposed in the NPRM.

                   Using the NPRM’s estimate of hours worked and the FLSA hourly wage rate
           results in a monthly salary of $1,381.27. Since many of these herds and workers travel
           across state lines, because food, housing, and clothing are already provided for free, and
           in order to create a more uniform process, Commenters would propose this single
           monthly rate in all states, except to the extent that the California or Oregon state statutes
           or judicial settlements require a higher rate already. While this will place a greater
           burden on employers in some states more than others, the FLSA wage rate applies
           uniformly across the nation and serves as a model for this proposal. As the NPRM
           observes, “[e]stablishing a single set of procedures for these occupations will create
           administrative efficiencies for the Department.” 80 Fed. Reg. 20303.

                   If DOL were willing to change the base rate to the FLSA rate, Commenters would
           welcome the change and would even propose a shorter phase-in period of 4 years, with
           annual phased-in rates of 75% in 2016, 80% in 2017, 90% in 2018, and 100% by 2019
           and thereafter. Using the $1,381.27 figure as the 100% mark and this four-year schedule,
           the monthly phased-in rates of pay would be $1,035.95 for 2016, $1,105.02 for 2017,
           $1,243.14 for 2018, and $1,381.27 for subsequent years.25 As recognized in the NPRM,
           the phase-in period would allow employers who have built their businesses around a
           starting wage level26 of $750 to $800 for the most part to adjust to the significantly higher
           wage levels.

                  Labor costs under this model will nearly double for ranchers – hundreds of dollars
           per worker per month, even without considering the increased cost of workers’
           compensation insurance that is tied to wages – but it is at least potentially a burden that
           some ranchers can survive, unlike the AEWR approach proposed. Looking to the
           University of Wyoming study referenced above, using the phased-in FLSA-based wage
           methodology instead of the NPRM’s wage methodology would mean that ranches could
           break even perhaps 56% of the time, on average. That’s not much better than a flip of the
           coin for survival, but at least offers a chance at staying alive that the NPRM does not.
           Moreover, as quoted above, this proposal meets the monthly salary request of the
           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           25!To  the extent that the Department is concerned with “stagnation” at this new level, the use of the ECI
           “inflation track” agreed to by employers and the United Farm Workers in S. 744, as discussed in Proposal
           #2, could be used to address that concern.
           26!The special procedure wage rates for H-2A workers constitute a wage floor, but many of the H-2A
           workers have been returning to the same ranches for years or decades and are paid significantly higher
           amounts than this minimum requirement. Increasing the minimum will create pressure to increase those
           already higher wages as well.



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           plaintiffs from the Mendoza litigation, who sought $1,300 to $1,500 per month. If the
           purpose of an “adverse effect wage rate” is to be the level of pay at which qualified,
           willing, and able U.S. workers (which the D.C. Circuit believed the Mendoza plaintiffs to
           be), would take the job, then this proposal meets that test. As discussed above in
           Proposal #1, the Bronars Report demonstrates that the resulting level of disposable
           income for herders under this proposal would be several times higher than that earned by
           their non-herding counterparts in the Mountain West.

                  Other Specific Concerns with the Rule

                   If the definition of “open range” were corrected and one of the alternative wage
           methodologies outlined above were adopted, ranchers could live with most of the
           changes from the longstanding special procedures to the Rule, particularly the retention
           of the experience requirements and seasons for sheep and livestock production. Not all
           of those changes are realistic, however, and the Commenters wish to discuss some of
           those changes below.

                  Contents of Job Orders

                   Section 655.210 sets forth the contents of the H-2A job order for this occupation.
           The job qualifications continue over from the TEGLs and are essential for identifying and
           hiring workers who possess the requisite skills for this special work. It would be a
           disaster to send 1,000 head of sheep or cattle off to the range with a new worker, only to
           have that worker decide that he or she did not really enjoy the work as much as he
           thought he or she might or to find out that the worker did not know how to care for the
           animals’ needs or to protect them from harm.

                   The use of the phrase “on call for up to 24 hours per day, 7 days per week” is
           potentially misleading, and might be better phrased as being “available” for that period –
           making more clear that work is not performed during that entire period but, rather,
           sporadically and as needed.

                   As discussed above with respect to the definitions of the job from Section
           655.201, the focus in Section 655.210 (b) on whether the work performed by herders is
           “closely and directly related to herding or the production of livestock” and the 20% hard
           cap on performing such work do not address any concerns with such work identified in
           the NPRM and would lead to confusion and substantial inefficiency. First, the 20% limit
           is worded such that “[w]ork that is closely and directly related to herding or the
           production of livestock must be performed on no more than 20 percent of the workdays
           spent at the ranch in a work contract period.” Section 655.210(b). The limit is not on the
           total workdays in the work contract period spent doing this work, but only on how the
           days spent at the ranch are used. Is the goal to have one day out of five spent at the ranch
           spent working and the other four resting, since work that is not “closely and directly”



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           related to livestock production almost certainly falls outside the scope of the job order?
           Is some other purpose intended by this provision? This wording is confusing.

                   Second, the grazing production of livestock definition that already exists in the
           WHD regulations discussed above offers a less confusing and more workable approach to
           defining the job. Instead of arbitrary percentages and percentages within those
           percentage directing how the worker may spend a particular day, focusing on the larger
           picture of the “primary duties” or whether the worker is “principally engaged” in the
           grazing production of livestock makes more sense and would be better understood (and
           complied with) by employers.

                    The NPRM asks five related questions regarding keeping hourly records for work
           performed at the ranch and on the range: (1) is it reasonable to keep such records; (2)
           how could such records be maintained and submitted; (3) is it reasonable to keep daily
           records of work performed on the range; (4) how could those records be maintained and
           submitted; and (5) is there another recordkeeping method by which employers could
           assure DOL that employees are meeting the 50% and 20% requirements in the Rule?
           Mountain Plains and Western Range would respond to all five questions by referring to
           the two proposed alternative wage methodologies already discussed above, as well as
           their comments regarding the use of the WHD regulations’ model for describing the job
           rather than the 50%/20% requirements proposed in the NPRM. By making those two
           changes, it would be an unnecessary waste of time to track the workers’ hourly or daily
           activities. If such a recordkeeping requirement were imposed, the Commenters would
           contend that many of their members do not currently possess the human resources
           capacity to create or maintain such records and doing so would place an enormous and
           unreasonable burden on them. As these associations’ members are already the subject of
           frequent and exhaustive audits by the Department of Labor, the reference to “submitting”
           the records is also confusing. If the employer is required to attest in the job order that
           certain arbitrary percentage targets must be met, why would records be “submitted” and
           to whom?

                  Housing

                   The NPRM proposes certain changes regarding mobile housing that require some
           clarification. In Section 655.210(c), the “employer must specify in the job order mobile
           housing will be provided.” For purposes of advising prospective job seekers of the
           availability of mobile housing, this makes sense. For some employers, however, this
           requirement would be inaccurate and misleading. While virtually all of the employers
           that would be covered by this Rule use the traditional means of mobile housing, there are
           a limited number of employers using remote fixed site bunkhouses for their livestock
           workers. In particular, some operations in Montana and Texas graze cattle over vast
           areas of land but maintain fixed wooden structures at points throughout that land and
           have employed H-2A workers under the special procedures for many years. Read



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           together, Sections 655.200(b)(2) and 655.210(c) would require these employers to
           include incorrect statements in their job order and could potentially bar them from this
           program altogether.

                   The NPRM specifically asks whether, if a worker desires to live in a mobile
           housing unit while on the ranch, should that be allowed? The answer is, of course. It
           would be unreasonable and inhumane to mandate that a worker move out of the home
           that he has made in a mobile unit for the short time that work is performed at the ranch if
           the worker did not wish to do so. The related question asked in the NPRM is, if a worker
           prefers to live in fixed-site housing while on the ranch, should the employer be required
           to provide separate fixed housing? Again, if the worker prefers to continue living in the
           home that he has made, why should a separate housing structure be built or set aside
           simply to remain vacant. However, if the worker preferred to live in fixed housing while
           working at the ranch, then that would be a different question, but requiring an employer
           to maintain two sets of housing per worker is unreasonably burdensome.27

                   The NPRM proposes new restrictions on “sleeping facilities” in Section
           655.235(l). This definition is unclear, however, since many of the mobile camps that
           have been in use for years include separate beds or bunks with a shared kitchen. Since
           workers must be available to assist the herd on a 24/7 basis and often trade shifts to
           ensure full coverage, it is somewhat rare that both members of a team would be sleeping
           in the camp at the same time. Requiring each worker to haul his own camp would be
           unrealistic and unnecessary, particularly during Winter months, as described above. The
           phrase “sleeping facility” is not defined and is confusing as to whether it means a bed or
           the entire camp structure? Instead, the Commenters propose replacing that subsection
           with the following language: “Sleeping unit. A separate sleeping unit must be provided
           for each person, except in a family arrangement. A sleeping unit is a comfortable bed,
           cot, or bunk with a clean mattress.” This definition would achieve the goal of preserving
           separate sleeping units for each worker, while providing clarity and efficiency with
           respect to the number of camps and kitchens required.

                          Water

                  Employers already supply water to herders in the camps, hauling it in by truck or
           four-wheeler where possible, or on horseback when necessary.28 During winter months,
           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           27!The NPRM also asks specifically about the cost of providing room on the ranch vs. on the range. The
           2010 study by the Colorado Wool Growers Association, referenced earlier, estimated the monthly cost of
           providing housing on the range at $425 ($288 for rental value and $137 for maintenance and utilities). No
           estimate for providing housing at the ranch was provided in that study, but similar fixed-site housing was
           estimated at $350-$450/month up to $600/month in certain areas. This question may best be answered by
           way of individual comments.
           28!The NPRM requires employers to provide water with which workers can do their own laundry in the
           camp. Many employers will bring the workers’ dirty laundry back from the camp, wash it properly in a



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           large tanks of water quickly turn to large blocks of ice. Under those conditions – as well
           as during warmer months when spending time in remote locations – there is abundant
           water at hand, from streams or rivers or by melting freshly fallen snow and hauling water
           to snowed-in camps can be difficult or impossible. While a survey of ranchers turns up
           no accounts of workers becoming sick from these longstanding practices, treating or
           filtering this water to local health standards can be affordably and safely achieved – often
           far more safely than having to haul the water over rugged trails. Providing the tablets or
           osmosis filters used by hikers and backpackers would cost pennies per day and have a
           proven track record of success. The exact method of achieving the requirement of
           potable water should best be left to the rancher and/or workers to assess what works best
           under the conditions in which they will be operating and what the worker’s personal
           preference is for ease of use.

                          Food and Refrigeration

                   Section 655.235(h)’s requirement of butane or propane refrigerators in the tents
           used in the Summer months is not feasible. This equipment cannot be packed onto horses
           to be carried over rough mountain trails. Other methods of food preservation and storage
           have been used successfully for years, but this new requirement will simply not work and
           should be eliminated.

                    The NPRM asks what constitutes a sufficient meal and what constitutes adequate
           food provision. These questions are related and can be addressed together here. The
           most common refrain heard from employers in preparing these comments is “my workers
           eat better than I do!” The physical demands of the job call for a protein-rich diet for the
           hearty men that perform this work, and that is precisely what these employers provide.
           There is no clear way to draw a line or set a standard for a “sufficient” or “adequate”
           meal. Setting an arbitrary calorie count or menu would violate the workers’ choice of
           food and would be unnecessary. These workers ask for certain food items that are part of
           their traditional diet in their native country, and the employers purchase and deliver that
           food to them on the range. Each worker has his own preference for food, and a “one size
           fits all” approach to mandating a particular diet would violate those preferences and be a
           logistical nightmare for the Department and employers to enforce and comply with.

                          Communication Devices and Equipment

                  The most recent TEGLs introduced the requirement of a cell phone, satellite
           phone, or two-way radio by which workers could communicate with the ranch in case of
           emergency. In the years since then, employers have adapted to the requirement. In
           !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
           machine, and bring the clean clothes back to the workers to exchange for dirty clothes. This system works
           better than trying to hand-wash clothes in the backcountry (particularly during colder months), and the
           NPRM should be updated to permit this practice to continue, requiring water for laundry only where the
           workers prefer to wash their own clothes.



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           response to specific questions in the NPRM regarding contact between workers and the
           employer, the Commenters would state that employers have a strong interest in tracking
           the health and well-being of their employees, as well as the health and well-being of the
           herd – in that order. To that end, employers travel hundreds of miles to visit with their
           employees on the range, checking that their needs are met, delivering mail, food, and
           supplies, and conveying any instructions needed for moving the herd to another location.
           Having communication devices assists in this, but never takes the place of face-to-face
           communication. At the same time, however, mandating a specific interval of time
           between such meetings or calls is problematic, given the unpredictable nature of terrain,
           weather, and cellular telephone signals. Employers literally go to great lengths to
           maintain communication, and micromanaging that interaction is neither necessary nor
           feasible.

                   With respect to the NPRM’s question about the tools, supplies, and equipment
           that are required to work safely and effectively, the best answer is that “it depends.” The
           items suggested in the NPRM are among those used on the range, binoculars, firearm,
           boots, rain gear, an ATV or four-wheeler, and/or a horse, but this list should not be
           considered exhaustive nor mandatory. During different times of the year or in different
           parts of the West, some or all of these items would be strictly necessary while others
           would be entirely useless. Contrary to what Public Citizen and Legal Services are likely
           to claim, the employers in these two associations care deeply for their workers and
           provide them all of the tools needed to perform the job safely and effectively. Additional
           specific requirements will not increase job safety or efficiency but would simply provide
           a “gotcha” opportunity for ambitious plaintiffs’ lawyers.

                  Joint-Employer Status of Western Range

                   The Rule does not specify (as the TEGLs and previous DOL guidance documents
           had previously) that Western Range may continue to operate as a joint employer for its
           members H-2A herders or maintain the ability to transfer workers between member
           employers as needed. The NPRM references the ability to file a “master application”
           and other provisions related to the filing of the application, but not specifically to the
           ability to transfer workers. This ability is already built in to the INA (8 U.S.C. §
           1188(d)(2)), and does not necessarily require explicit regulatory permission to continue,
           but Western Range would take this opportunity to ask that the Department’s Final Rule
           clarify that this longstanding arrangement (dating back to the earliest days of the foreign
           sheepherder program) is to continue under the new Rule. For example, in the most recent
           iteration of the special procedures, TEGL 32-10, the Department stated as follows:

                  Pursuant to 8 U.S.C. 1188(d)(2), the Department’s certification granted to
                  the association may be used for the certified job opportunities of any of its
                  members and such workers may be transferred among its members to
                  perform the services for which the certification was granted. Although a



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                                  Addendum – Western Range Association

                   As an original participant in the H-2A sheepherder program, Western Range
           Association feels compelled to speak on the proposed changes to the sheepherder
           program on a historical and goal-driven level because this issue speaks to some of the
           core principles of who we are as an industry and as a nation.

                  For over 60 years, the sheepherder program, not originally known as the H-2A
           sheepherder program, was started by a group of tenacious, innovative, and forward
           thinking sheep men known as the California Range Association, later to become the
           Western Range Association. They were immigrants or sons of immigrants, embodied
           with a spirit of hard work and a sense of duty to family and country. They were driven
           by what some people called ambition, one-on-one relationships and goal-driven zeal that
           was evidenced by the way they lived.

                   They were complimented by a group of Congressmen who looked at them and
           their efforts not as a threat or annoyance but as a group of idea driven and nation building
           citizens looking for help. Congress viewed their request for help as an opportunity to
           create a guest worker program that had Congressional authority and administrative
           oversight of the former Immigration and Naturalization Service. There was a time when
           representatives from California Range Association and Western Range could pick up the
           phone and call high-level administrative representatives to discuss issues or problems
           with a degree of consensus that a workable and program-sustainable solution could be
           obtained.

                   This relationship resulted in a dialogue and joint effort to address problems and
           create solutions. It is because of that relationship that we even have a program to discuss
           today. There was a time when dialogue and discussion were solicited not mandated by
           the courts and, yes, even back then, herders used fencing. It also resulted in a program
           that was not a threat to domestic workers, but did the opposite and resulted in the net
           creation of jobs and growth. Local businesses, regional trucking companies, national
           meat companies, and national woolen mills were created and supported because men
           came to this country to herd sheep when no one else would.

                 The effort to sustain this program was not viewed as a threat to be diminished by
           making it so onerous that it could not longer function but as an endeavor worthy of
           promulgation.

                   These thoughts would be remiss without some reflections on the herders
           themselves. The relationship that exists between the employer and the herder is one of
           the closest that exists in the workplace. Employers buy herders groceries, send money
           home, take herders to the doctor, guarantee employment, supply a place to live, guarantee
           a wage rate, supply transportation, and even transfer herders to another employer when



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           irreconcilable differences arise. This all results in herders sending money home to raise
           families, build homes, start businesses, buy property, put children and family members
           through college, and secure a retirement. The attestation to the success of the program is
           that many herders return, time after time, on renewed contracts. Before IRCA, in
           previous generations, the early program was so successful that some sheepherders were
           able to use their earnings to move to the U.S. to build businesses of their own.

                   These comments would also be remiss if the issue of noncompliant members in
           the sheep industry who choose to work outside the rules of the H-2A program was not
           addressed. Although they amount to a very small part of growers, they have become the
           subject of attention, being portrayed as representing the entire industry. Western Range,
           because of its status as a joint employer, monitors, investigates, sanctions, and in some
           cases debars members because of program violations. The status as a joint employer
           creates more liability and a more financially punitive exposure for Western Range but has
           been accepted by its members in order to preserve the integrity of the program.

                  This is an overview and background of where the H-2A sheepherder program
           came from and where it is today. The result has become a template for other groups to
           follow. The H-2A sheepherder program has had the net effect of creating jobs not taking
           them away. It represented and represents a group, which in conjunction with a willing
           and helpful DOL, helped create and mold a guest worker program that became an answer
           and example to others not only for addressing a need but also as a way for government
           and the private sector to work together to address a problem.

                   The program was viewed as a means to achieve the goal of maintaining the
           viability of the sheep industry which added to and was a part of what made us a great
           nation.

                   These comments are not only designed to be an appeal for prudence in rule
           making but also a reminder of the longstanding ideals and historical context that brought
           us to this point, encouraging us to proceed in this exercise in the same context and intent
           in which the H-2A sheepherder program was conceived and administered.

                   WRA is proud of who we are and grateful to the efforts of those all who preceded
           us, as well as the American Sheep Industry Association, Mountain Plains Agricultural
           Services, and stakeholders who join us now. Never before has such a concentrated effort
           been mounted to sustain the range production of sheep, goats and livestock as the one
           evidenced now, attesting to the paramount nature of our resolve to protect our
           livelihoods. We are mindful that over the years, with the help of Congress and DOL, we
           have been able to create and maintain a program which doesn’t pose a threat to domestic
           workers but fills a need, creates domestic jobs and overcomes obstacles resulting in



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           Adele Gagliardi
           Administrator, Office of Policy Development and Research
           June 1, 2015
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           equitable solutions. We invite DOL to work with the sheep industry and continue that
           effort.



                                                     Western Range Association




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                                   CONFIDENTIAL
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       Two Bar Sheep Co., LLC

       Craig, Colorado



       Department of Labor

       Employment and Training Administration

       Federal Register of April 15, 2015

       FR Doc 2015-08505

       Temporary Agricultural Employment of H-2A Foreign Workers in the Herding or Production of Livestock
       on the Open Range in the United States



       Our operation consists of private owned, private leases, USDA Forest Service, BLM, and association
       lands. We have a migratory operation where sheep are grazed under the watch of sheepherders from
       the Elkhead Mts of Colorado to the high desert range of Wyoming. From October to May the herders
       graze on this migratory path.

       Latter April brings herds to our headquarters to be sheared. Each herd takes it’s turn coming through
       the shearing shed and then proceeding on to our lambing grounds. A crew of herders stays at the fixed
       site housing during the shearing process which may take up to 8 days to complete.

       During lambing, each herd is followed by several men, where they separate ewes with lambs from the
       pregnant ewes, and care for ewes that need help during lambing. The lambing process takes place in
       fenced pastures where ewes that have lambs are left behind in pastures as the “drop herd” (pregnant
       ewes) moves on. Our lambing takes up to 35 days to complete. As lambs get older, herders are sent
       back to care for the ewes and lambs and form groups for the summer bands. The sheep and herders
       may spend up to 60 days in fenced pastures as this process proceeds to the point of trailing or hauling to
       the high country. Forest Service lands have some boundary fencing. We also have fixed site housing
       used during the lambing process where there are facilities for ewes that need help are housed and cared
       for.

       In September herds are brought to the summer headquarters where lambs are sorted and shipped to
       different feedlots and pastures, ewes are culled, wormed, vaccinated and made into winter bands.
       During this process, sheep may be grazed in different pastures until the new bands are selected to
       continue the migratory process. Ewes that may need help through the winter as well as our rams are fed
       during the winter by herders at a fixed housing site.

       We have herders that stay in mobile housing during all periods, yet may stay at a fixed housing site
       during certain times of the year. We have others that use fixed housing because of the livestock facilities
       needed and the work being done. Fixed site facilities offer herders bathing and washing facilities to use.
       There are also facilities to care for their personal items.




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       A sheepherder should not only herd sheep, whether on open range or fenced pastures, but engage in
       activities that are related to the animal husbandry practices of raising sheep. Duties may include but not
       be limited to:

       Working in the shearing process which includes getting sheep to sheep shearer, branding, vaccinating,
       loading sheep and wool

       All types of lambing procedures (pasture, range as well as shed type lambing)

       Caring for horses and animals (guard dogs and herding dogs) which include feeding, grooming, shoeing

       Feeding supplements to sheep with the use of machinery or other means

       Repairing and building fence when sheep are in pastures

       Irrigating pastures where sheep graze, or hay raised to feed the sheep

       Caring for and repairing equipment used

       Using pack animals to move tents in roadless areas

       Hauling water or groceries/supplies to sheep and other herders

       Clean and care for their housing facilities including cutting wood for heat and cooking

       Cook meals for themselves as well as other herders when necessary



       Our family has been producing protein and fiber for the American consumer since the 1930’s. We have
       relied on the guest worker program since the 1970’s due to the inability to hire American workers. We
       rely heavily on the current Special Procedures of the H2A program to remain viable. The courts directed
       DOL to follow the proper procedure in implementing the previous rule, not to make drastic changes to
       the rule which will have a devastating impact on my operation and the sheep industry.

       Our sheep operation contributes $1,000,000 annually to the local community. Since agricultural
       products are considered new money, that has a multiplier effect of 5. The impact of our operation is
       $5,000,000 to the local economy annually. Our ranch depends on as many as 20 sheepherders to make
       this economic contribution which I estimate provides another 160 full time jobs for American workers.
       The revenue from sheep allows my family to ranch which in turn provides thousands of acres of private
       land open space, habitat for sage grouse, and habitat and migratory access for deer, elk, and other
       wildlife.

       As proposed, the definitions and job descriptions would make it impractical and impossible to comply
       and hire H2A labor. The additional administrative burden placed on employers is not only costly and
       time consuming, but opens the door to noncompliance. Livestock grazing with sheepherders entails the
       use of widely varying terrain, rangelands and feedstuffs. The use of resources and production practices
       evolve and change over time as does our environment and society. As these changes occur, the use of
       sheepherders becomes more important in caring for and watching over our sheep. The job description
       and duties of a sheepherder should be what is necessary to produce food and fiber, good animal
       husbandry practices, and care for the welfare of the animal. It cannot be restricted to specific duties.




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       The Department must work with stakeholders and industry in order to develop the proper job
       description and definitions. I concur with the Western Range Association, Mountain Plains Agricultural
       Service and American Sheep Industry Association proposed definitions and job description.



       We recognize that the current survey to determine wages has caused a stagnation of wages for the past
       twenty years. Our operation uses the rate as a starting salary for inexperienced herders. We pay more
       to herders based on experience and provide bonuses based on performance. The survey should be
       updated due to the lack of US workers hired. The Department of Labor’s proposed wage increase and
       implementation will immediately and by 2020 drive most, if not all, producers that rely on the H2A
       program out of business. The base wage proposed by DOL reflects what is paid to other categories of
       H2A workers who are not provided free room, board, clothing, transportation expense as well as other
       amenities currently provided. Our herder’s salaries are disposable income because of what we currently
       provide. These other costs should be deducted or used in determining salaries.

       Our sheep operation operates on a 2-5% profit margin. In 2014, we had a cash flow loss of $32,908.
       Using DOL projections of salary increase, maintaining all other expenses constant, with no capital
       outlays for equipment replacement or other capital improvements, income steady, we will incur a loss
       of approximately $120,000 in 2017 and a $320,000 loss by 2020. This proposed wage increase and
       implementation will force us out of business! The industry and stakeholders have offered two proposals
       for determining wages. I support the second option. Starting with a base rate of $800/month, applying
       a “stagnation” factor to bring wages up to date, a 3 year phase in with the ECI factor used to determine
       future increases. This allows participants of H2A to adjust to a fair increase, with the opportunity for
       better weather and markets to allow for the ability to pay these increases. Without profitability by
       operations, there will be no employment of guest workers or American workers.



       The guest worker program has been in place for over 50 years. It has succeeded in bringing guest
       workers to fill jobs neither sought nor wanted by American workers. The special procedures are a
       necessary and important part of the H2A program allowing the sheep and livestock producers to provide
       the American public naturally raised protein and fiber, provide open space and habitat for an abundance
       of wildlife, and provide generations of families the opportunity to maintain viable operations. The
       proposed changes by DOL undermine the intent of the courts. As presented, it will devastate sheep
       operations and have a direct detrimental impact on all segments of the sheep industry (farm gate to
       plate) as well as local communities and economies that rely on them for sustainability.

       Our son has returned to the ranch after graduating from college to be the third generation to operate
       this ranch. His first year as a sheep rancher may be his last. Please use stake holder input during this
       comment period so he can continue on the family ranch.

       Steve Raftopoulos

       Two Bar Sheep Co., LLC




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                                                                       ANNUAL PAYROLL HISTORY
                                                       2011             2012             2013      2014             2015
ANNUAL WAGE                                       $    15,629.00   $ 15,960.00 $ 15,960.00 $ 15,960.00         $ 19,240.08 20.5% Increase from 2014 to 2015
VACATION PAY                                      $       599.45   $    612.22 $    612.22 $    613.85         $ 740.00
CHRISTMAS BONUS                                   $       300.00   $    300.00 $    300.00 $    300.00         $ 300.00
PAYROLL TAXES                                     $       472.19   $    540.81 $    584.57 $    522.90         $ 494.52 OR Ul & WBF Assessment
SAIF PREMIUMS                                     $       465.76   $    676.15 $    710.95 $    760.74         $ 1,054.95 38.5% Increase (rate Increase+ payroll increase)
WESTERN RANGE COSTS                               $     1,514.00   $ 1,632.00 $ 1,752.00 $ 2,472.00            $ 2,112.00
FOOD                                              $     4,416.11   $ 3,624.30 $ 3,798.00 $ 3,137.40            $ 3,600.00
INSURANCE                                         $       360.00   $    360.00 $    726.13 $ 1,046.63          $ 648.25 Will rise annually (2013 & 2014 included temporary policy costs)
CELL PHONE                                        $           .    $     88.00 $    198.00 $    264.00         $ 264.00
HOUSING                                               Provided         Provided     Provided     Provided          Provided
CLOTHING, ETC.                                        Provided         Provided     Provided     Provided          Provided
ANNUAL COST PER HERDER                            $    23,756.51 $ 23,793.48       $ 24,641.87 $ 25,0]7.51   i     28,453.8iJ


                                                                                    PROPOSED ANNUAL PAYROLL
                                                       2015             2016             2017      2018             2019            2020-25
                                                  OR MIN. WAGE OR MIN. WAGE          AEWR         AEWR              AEWR             AEWR
ANNUAL WAGE                                       $    19,240.08   $ 19,240.08 $    21,348.24 $ 25,276.32      $ 29,459.52 $ 33,911.16 112.5%
                                                                                                                                       l      Increase from 2014 to 2020
VACATION PAY                                      $       740.00   $    740.00 $       821.09 $    972.17      $    1,133.06    $    1,304.28
CHRISTMAS BONUS                                   $       300.00   $    300.00 $       300.00 $    300.00      $      300.00    $      300.00
PAYROLL TAXES                                     $       494.52   $    501.39 $       547.36 $    633.02      $      724.25    $      821.33   Increases based on current tax rates
SAIF PREMIUMS                                     $     1,054.95   $ 1,054.95 $      1,170.54 $ 1,385.92       $    1,615.29    $    1,859.37   Increases based on current SAIF rates
WESTERN RANGE COSTS                               $     2,112.00   $ 2,237.00 $      2,362.00 $ 2,487.00       $    2,612.00    $    2,737.00   I stimated increases
FOOD                                              $     3,600.00   $ 3,700.00 $      3,800.00 $ 3,900.00       $    4,000.00    $    4,000.00   I stimated increases
INSURANCE                                         $       648.25   $    680.66 $       714.70 $    750.43      $      780.45    $      811.67   I stimated increases
CELL PHONE                                        $       264.00   $    264.00 $       300.00 $    300.00      $      325.00    $      325.00   I stimated increases
HOUSING                                               Provided         Provided     Provided     Provided          Provided         Provided
CLOTHING, ETC.                                        Provided         Provided     Provided     Provided          Provided         Provided
ANNUAL COST PER HERDER                            $    28,453.80 $ 28,718.08 $ 31,363.92        $ 36,004.86 $ 40,949.56 $ 46,069.80

                                                                         PROPOSED MONTHLY PAYROLL COST INCREASES
                                                      6/1/2015          2016             2017      2018             2019            2020-25
                                                   OR Min. Wage    ORMin.Wage        AEWR         AEWR              AEWR             AEWR
MONTHLY WAGE •                                    $     1,603.33   $    1,603.33   $ 1,779.02 $ 2,106.36 $ 2,454.96 $ 2,825.93 112.5% increase from 2014 to 2020
HOURLY WAGE ••                                    $         9.25   $        9.25   $     9.33 $    11.05       s
                                                                                                              12.88 $    14.82
MONTHLY WAGE INCREASE                             $       273.33   $           .   $   175.69 $   327.34 $   348.60 $   370.97
PAYROLL TAX INCREASES                             $        12.60   $           .   $    10.55 $    13.74 $    14.18 $    14.65 ncreases based on current tax rates
SAIF PREMIUM INCREASE                             $        14.43   s           .   $     9.28 $    17.28 $    18.41 $    19.59 ncreases based on current SAIF rates
MONTHLY INCREASE PER HERDER                       $       300.37   $           .   $   195.52 $   358.36 $   381.19 $   405.21

* AEWR monthly salaries are calculated as follows: Hrly rate x 44 hrs per week x 4.333 weeks per month.
 Oregon minimum wage salaries are calculated as follows: Hrly rate x 2080 hrs per year divided by 12 months.

* • Employers are required pay the higher of the Oregon Minimum Wage Salary or the AEWR Salary determined by the DOL.
   In 2015 and 2016 the Oregon minimum wage salary is the higher of the two.

Oregon employers ore continually threatened with substantial minimum wage increases,
as high as $15 by 2017. This would mean earlier and larger wage increases for herders.



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                                                                  As of: November 12, 2015
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                                                                  Received: May 20, 2015
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                                                                  Status: Posted
                                                                  Posted: May 20, 2015
                                                                  Tracking No. 1jz-8iyh-wweo
                                                                  Comments Due: June 01, 2015
                                                                  Submission Type: Web

      Docket: ETA-2015-0004
      Temporary Agricultural Employment of H-2A Foreign Workers in the Herding or Production of
      Livestock on the Open Range in the United States

      Comment On: ETA-2015-0004-0001
      Temporary Agricultural Employment of H-2A Foreign Workers in the Herding or Production of
      Livestock on the Open Range in the U.S.

      Document: ETA-2015-0004-0137
      NA - Parker, John


                                              Submitter Information
      Name: John Parker
      Address:
        6425 Eagle Butte Ave
        Frederick, CO, 80516
      Email: jbp1977@msn.com
      Phone: 720-635-2754
      Organization: NA


                                                   General Comment
      RE: Temporary Agricultural Employment of H-2A Foreign Workers in the Herding or Production of
      Livestock on the Open Range in the United States. [RIN 1205-AB70 & Federal Register No. 2015-
      08505]

      1. Proposed changes in the definition of the H-2A sheepherders and goat herders job description
      currently provided for in special procedures.

      As a sheep producer I want to point out how devastating the proposed changes in the definition of
      the sheepherders job description will be to my sheep operation. Sheep cannot be left alone while
      grazing on the range for fear they will stray from the band and be lost, attacked by predators or
      graze unintended areas. A herder must be available at all the times to make sure the sheep are safe.
      The Department of Labor has for decades recognized the unique nature of open-range sheep herding
      by providing special procedures for H-2A workers. Now it wants to redefine the unique characteristics
      of the sheepherders and goat herders job. The herding profession is more 10,000 years old and with
      the nature of sheep being what they are will always require a herder to watch over them. The herder
      must be able to move and watch over the sheep at all times. The Department of Labor cannot and
      should not try and change the definition of a job that has not changed for thousands of years.

      It has been proven over and again that we cant hire U.S. workers to herd our sheep. For the last 80
      years we have had to bring herders in from other countries to do this work. If we could hire
      dependable, dedicated American herders that would stay and care for the sheep at the job requires


file:///S|/...FLC/ETA-2015-0004%20H-2A%20Sheepherding/Needs%20to%20be%20converted%20to%20PDFs/ETA-2015-0004-0137.html[11/17/2015
           Exhibit F at 65                                                                                                       1:03:02 PM]

                                                                                                                                AR0835
      we would. We cannot.
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      H-2A workers come to this country for a few years to herd approximately 40% of Americas sheep in
      order to make far more money than they can at home. They depend on this money to feed and care
      for their families back home before returning to their home country. It is important to note that
      these H-2A workers are non-immigrants. They are here for a short time. They are reliable and
      responsible workers that care for our sheep. These foreign herders are a valuable asset to the
      American sheep industry and more particularly to our operation. If we didnt have these herders we
      wouldnt be in the sheep business.

      2. Proposed changes in the wage methodology.

      Turning to the issue of wage rates, the proposed wage increase is frankly ludicrous. A sheep
      operation doesnt make enough revenue to pay a 300% increase its labor expenses. If these rules
      were to be implemented most sheep operations would go out of business. The Department of Labor
      is inserting its self into a monthly salary rate that is set by the applicable state agencies. Currently,
      we negotiate a wage with the herder before he comes to work here. In addition, these rules dont
      take into consideration the experience and knowledge of a particular herder. A good, knowledgeable,
      dependable herder is worth far more than one that doesnt have these skills. We are more than
      willing to pay for an experienced herder with these abilities.

      Unlike other jobs, a herder has additional expenses paid by the sheep rancher. The sheep rancher
      must pay for all of the herders food, clothing, supplies, housing, travel, visa expenses, etcAs with all
      labor markers, if we dont pay him enough he will either go to work for another sheep operation that
      will pay more or he can refuse the job. These proposed across-the-board rules do not reflect the
      specifics of the job or the costs associated with it.

      3. 2014 Court Order directive to the Department of Labor.

      Further, the 2014 U.S Court of Appeals for the District of Columbia Circuit necessitated the
      Department of Labor implement the notice-and-comment rulemaking under the Administrative
      Procedures Act. The Department of Labor simply has to notice the existing special procedures
      guidance of the H-2A sheep and livestock herding occupations for public comment, not change
      altogether the regulations governing certification of the employment of nonimmigrant workers in
      temporary or seasonal agricultural employment of the H-2A program. How the Department of Labor
      interpreted the courts order to engage in substantive rule changes to the special procedures is a
      mystery. What precipitated the Department of Labor to suddenly propose changing the rules of a
      successful program that has functioned well for 80 years is unwarranted. The old saying if it isnt
      broke dont fix it comes to mind.

      I want to conclude by making it clear I am against the proposed rules changes for the reasons
      mentioned above. But to comply with the court order, the Department of Labor should proceed with
      promulgating the Special Procedures guidance as is for public comment of the H-2A sheep and
      livestock herding occupations. If after those comments are received it appears there is a need for
      change, then in that event, propose changes to the H-2A Special Procedures can address those
      issues.



                                                        Attachments
      H-2A Notice & Comment Rulemaking 5-15-15




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           Exhibit F at 66                                                                                                       1:03:02 PM]

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                                                                  Status: Posted
                                                                  Posted: May 28, 2015
                                                                  Tracking No. 1jz-8j3b-podk
                                                                  Comments Due: June 01, 2015
                                                                  Submission Type: Web

      Docket: ETA-2015-0004
      Temporary Agricultural Employment of H-2A Foreign Workers in the Herding or Production of
      Livestock on the Open Range in the United States

      Comment On: ETA-2015-0004-0001
      Temporary Agricultural Employment of H-2A Foreign Workers in the Herding or Production of
      Livestock on the Open Range in the U.S.

      Document: ETA-2015-0004-0263
      NA - Hansmire, Julie


                                              Submitter Information
      Name: Julie Hansmire
      Organization: NA


                                                   General Comment
      May 27, 2015

      Adele Gagliardi, Administrator
      Office of Policy Development, Research, Employment and Training Administration
      U.S. Department of Labor
      200 Constitution Avenue, N.W.
      Room N-5641
      Washington DC 20210


      Dear Ms. Gagliardi,

      I am writing about the impact of the proposed H-2A rule on the U.S. Sheep and Goat Industries. My
      son and I run a range sheep operation in Colorado and Utah H-2A herders been a vital part of our
      operation for 30 years.

      The sheep industry is an old industry and does not fit into any mold from another industry. We often
      graze remote native range, raising lambs from our renewable natural resources. Sometimes we are
      grazing close to towns/ski areas. The need for a qualified individual to care for our animals is
      paramount. We continue to improve our rangelands including techniques in grazing plans and water
      improvements.


      Our yearly wages for herders is $70,000 plus room, board, telephone, work clothes,boots etc.).
      However, to multiply our $70,000 x 3 as in the proposed regulations would make our herder wages
      approximately $210,000. This would make our operation unworkable. We have native range that fits


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           Exhibit F at 67                                                                                                       1:15:09 PM]

                                                                                                                                AR1060
      our type
           Caseof1:15-cv-01889-REB-STV
                  operation: raising lambs. The  wage proposed
                                            Document            is not08/18/16
                                                       139-11 Filed    sustainable for us.
                                                                                USDC       We cannot
                                                                                        Colorado     afford
                                                                                                  Page  68
      wages to triple. Please withdraw the proposed wage and replace it with a formula that is sustainable.
                                                        of 90
      Please look at the wage alternatives that is submitted by ASI(American Sheep Industry Association).

      Increasing wages will not add more money in our local economy, as almost all of the herders wages
      go back to their families(Herders have no food or housing cost!) The proposed H-2A wages will affect
      our local community in the amount of fuel, supplies, insurance, dog food, etc. that we no longer
      purchase when we are no longer in business.

      We have mostly Peruvian Sheep herders in our operation. Each week I receive faxes from men that
      are interested in working for us. These men want to work here as there is little opportunity in their
      home areas in Peru. They send their kids to college, build homes and buy businesses. Some of their
      living conditions in South America are rudimentary, at best. They are very proud to come to the
      United States to work. They become our friends and family. The current system works. Our herders
      know their wages increase from the base as they become more experienced. And, our herders often
      receive quarterly bonuses of $1000.
      The men that work for us have specific talent for the job. They are slow when they sit with a herd
      during the day but quick to recognize issues with individual sheep or recognize a herd problem. Our
      herders live in self-contained mobile units specially made for this type of work. I also live in a sheep
      camp for 6 months of the year. I haul water to my camp along with water to the herders. Camps are
      made for rough terrain, have wood stoves. They are comfortable and efficient to live in.


      Concerning the definition for open range, please do not limit the description of open range to the
      proximity of fences. We sometimes have a fence within a quarter of a mile where the sheep are
      grazing under the guidance of a herder or sometimes 20 miles. Our sheep need a herder with them
      12 months of the year, regardless of any fencing.

      Also, please do not restrict the use of mobile housing if our men come in to our headquarters. We
      can not build fixed housing. I also have a mobile sheep camp during our spring lambing. It is very
      acceptable and comfortable.

      In summary, please note that the current program is successful. It has been used for decades. If
      there are improvements to be made, please include us in any decision making. Our historic Sheep
      Industry needs to continue providing wool and lamb for our Country. And in the west, where the
      majority of sheep production takes place, H-2A herders are a key to the success.

      Sincerely,


      Julie Hansmire
      CAMPBELL HANSMIRE SHEEP, LLC
      BOX 100
      MACK, CO 81525




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           Exhibit F at 68                                                                                                       1:15:09 PM]

                                                                                                                                AR1061
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          May 31, 2015

          VIA WWW.REGULATIONS.GOV

          Adele Gagliardi
          Administrator
          Office of Policy development and research
          Employment and Training Administration
          U.S. Department of Labor
          200 Constitution Avenuue NW
          Room N-5641
          Washington, DC 20210

          REGARDING: 20 CFR Part 655: RIN 1205-AB70
          Temporary Agricultural Employment of H-2A Foreign Workers
          in the Herding or Production of Livestock on the Open Range
          in the United States


          Dear Ms. Gagliardi:


                  We submit the following comments in response to the
          Notice of Proposed Rulemaking (NPRM) issued April 15, 2015
          regarding the above noted proposal concerning H-2A
          sheepherders and range livestock workers.
                  Our family has been in the sheep business in America
          since the late 19th century when Martin Espil came from the
          Basque country of France to herd sheep in the high deserts
          of Nevada and California. Martin’s great, great
          granddaughters are now involved in the sheep raising
          business – the fifth generation in virtually the same
          geographic area. Although all working family members hold
          college degrees and embrace technology, we still adhere to
          many practices of husbandry that reach back thousands of
          years.




          J & C Espil                                                      1
Exhibit F at 69
                                                                                 AR1368
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                  More than a century of continued respect and
          compassion for sheepherders has been a major reason for our
          longevity and success. Since the beginning, our family
          developed longstanding relationships with generations of
          sheepherders and their families. Our reputation transcends
          borders, continents, languages and cultures through this
          association. Some of the early herders became productive
          U.S. citizens. Others returned to their countries, educated
          their children, built homes, and started businesses.
                  This tradition continues today through appreciation
          and support for the sheepherders and their families. These
          H-2A sheepherders have played by the rules, entering the
          country legally and dedicated themselves to the sheep
          business here and to their families at home. This proposed
          rule would end our far-reaching generosity and cause great
          harm to men who have dedicated a part of their working
          lives to the American sheep industry.
                  We have studied the proposed rule, and commented on
          major issues in the text that follows.      However, the length
          and complexity of the proposal and references to other
          regulation and law make a comprehensive criticism
          difficult. Suffice it to say, the proposal is poorly
          conceived and has no redeeming merit.


          Respectfully submitted,


          John R. and Carolyn Espil




          J & C Espil                                                       2
Exhibit F at 70
                                                                                 AR1369
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        Page: 20300

        Most notable: Proposed rule was published on April 15 allowing 30 days for comment.
        This was subsequently expanded to 45 days, the excuse for the short period that the judge
        expected rule by November 2015 – 7 months from the proposed rule. This shortened
        period is contrary to Executive Order 13563, which is cited on page 20313 in the
        proposed rule. According to that Executive order, comment period for such changes
        should be “at least” 60 days. The order also states that the agency must seek views of
        those “likely to be affected”. No such meaningful consultation occurred, as evidenced by
        the impractical nature of most of the proposals. The period for comment coincides with
        the essential work of spring that occurs in the industry most impacted – a dubious choice
        of timing on the part of the agency involved.


        Cost to our business, which has survived for four generations, would be catastrophic,
        considering just the proposed, three-fold increase in wages. Currently, our immediate
        costs for H-2A labor – salaries, Western Range Association fees, commissary,
        compensation insurance – over the last five years account for a range of 25% - 45% of
        the gross income generated by lamb and sheep sales and wool proceeds. Not included are
        the costs for transportation, housing, water, tools, clothing, phone, bookkeeping,
        maintenance of pickups and housing, general insurance, taxes, rents, grazing fees, capital
        improvements, livestock purchases, and many other items essential for the viability of
        this business. The nature of the livestock business and, indeed, any producing agriculture
        enterprise, is volatility of markets, variability in weather and nature, and the
        unpredictable politics of over-reaching government agencies. The concept of markets in
        which price is dictated for perishable commodities is a difficult one to grasp for the
        policy makers. However, knowledge of the industry and its history, its contribution to
        the economy and society, and a basic understanding of the financial realities of
        production should be a requisite for such far-reaching rules as proposed in this document.
        Unfortunately, throughout this proposal, the gross errors in cost estimation, impacts on
        livestock ranching, the detriment to supporting industry and the loss of income to state
        and local governments coupled with misstatement of simple statistics indicate an agency
        more interested in agenda driven outcomes than the rule of law, statute, and reason.

        Page 20304

        The Department’ proposed definition of “open range” is narrow and trifling in scope.
        Public lands – both BLM and Forest Service land interfacing with private property may
        be fenced. Public lands also are often fenced to separate grazing allotments, to protect
        resources or to designate pastures. Fencing is not and should not be a limiting factor in
        the definition of range or grazing pasture. Additionally, fencing does not preclude the
        need to herd sheep.



        J & C Espil                                                                                 3
Exhibit F at 71
                                                                                                        AR1370
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        c. 655.210(d) Employer provided items

        DOL claims that employers have failed to provide all tools necessary for the job of
        sheepherding. The DOL claims that employers have charged herders for such tools
        bringing the monthly wage below that required. It is doubtful that the DOL investigators
        could, in the scope of their investigation, determine whether the charge was for an item
        requested by the herder for his personal possession or if it was an item that the employer
        should provide. For example, work boots are listed as a necessary tool, although DOL
        gives no variance for price, personal preference, or frequency of purchase. The
        implication of wrongdoing on the part of employers in this instance with the naming of
        two items of clothing and a vehicle ostensibly charged to herders has little bearing on the
        so-called provision of “tools and supplies”.

        The list of items DOL defines as tools of the trade expands with each paragraph. We
        already supply bedding and clothing and boots within reason. However, this proposal
        apparently eliminates all expenses for the herder. So far we have never had a complaint
        concerning lack of tools or supplies. Incidentally, these necessities are often re-supplied
        yearly due to disappearance or breakage or wear and tear. This “list” has been formed
        without consultation with those buying the items, which are definitely a cost of
        employment of H-2A sheepherders, a benefit not often offered to other workers.

        d. 655.210(e)
        We have always supplied nutritious food and clean water in abundance to herders.
        However, DOL suggests that with the drastic wage increase, the employer may petition to
        charge for food. It would be problematic to apply one figure equally to all herders, for as
        with any group there is a wide variance in consumption. Items are supplied to the camps
        in large quantities weekly with little restraint on how much or how little is taken from the
        camp tender. Typically, there are two herders in each camp. The quandary is how to
        alter a long-standing practice and apply a new charge equitably. However, there are
        methods, which may suffice. This may all be a moot point, since our company cannot
        survive the wage increase alone.

        e. 655.210 (f)
        This entire section serves as evidence of the dismal lack of understanding of ranching
        held by the Department. Workers under the open range livestock production designation
        are paid a minimum monthly salary not based on hourly work. Under this system some
        days are longer than others and some shorter, but each day counts toward the monthly
        salary. How then is a requirement of daily records for these employees compatible with a
        monthly stipend? The distorted view regarding the dynamics of livestock husbandry and
        the jobs associated with that profession is very apparent on page 20306 in the statement
        that, “Department believes that keeping records for the herders or open range production
        workers who are performing work on the ranch or farm does not create a significant new



        J & C Espil                                                                                   4
Exhibit F at 72
                                                                                                          AR1371
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        burden on employers.” For in its wisdom, the Department believes that, “Employers
        should already be keeping and maintaining hourly work records for other ranch or farm
        employees…”. What if all “other” employees are salaried or are family or are non-
        existent?




        Page 20306

        g. 655.210

        The provisions of this section have been the standard that we have maintained. We have
        always fulfilled herder’s requests for advances on wages. Herders have never requested
        payment more frequently than monthly, but would be obliged if they preferred that
        schedule.

        Page 20307

        Regarding the wage scale in California, it should be noted that this high rate has been
        detrimental to the industry and has resulted in a distinct hardship for growers in that state.


        Pages 20308-20311

        The Department’s “central dilemma” regarding determination of wages for sheepherders
        stems from the “dearth” of information resulting from SWA wage surveys of American
        sheepherders. The salient fact is that the American worker generally does not want the
        work nor is he suited to it. Therefore, with few domestic employees, little data is
        available. The attempt by the Department to increase wages to a level acceptable to the
        American worker ignores these facts: the jobs have always been available and,
        preferentially so, to domestic workers; yet the few who have tried the employment in our
        experience were dismal failures. If wages were the prime deterrent for American workers,
        then California, with its high pay scale, should have ample recruits. In fact they have few
        U.S. applicants. Furthermore, among the few who have qualified and taken the job, not
        one has ever completed a contract. The Department also ignores the reality that
        sheepherding is not a simple, unskilled task. A master of sheep husbandry generally has
        years of experience and an exceptional aptitude for his work. Unfortunately, for many
        who work in agriculture, the skill and talent necessary for success go unrecognized and
        little appreciated. This document is evidence of that attitude.

        The Department’s leap to Farm Labor Survey statistical determination of agriculture
        workers’ wages contradicts all references by the Department to the unique nature of the
        range production of sheep and to precedent and history also cited in this document. In
        essence the Department, for ease of argument, lumps a very singular industry’s workers
        in with all other agricultural workers regardless of similarity. There are distinct reasons



        J & C Espil                                                                                   5
Exhibit F at 73
                                                                                                          AR1372
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        for the “special procedures” allotted to sheepherding, due to its uniqueness in the field of
        livestock management. These statistics make no mention of length of employment,
        conditions of employment, and benefits in addition to wages. H-2A sheepherders, as
        outlined in this document, are supplied with virtually all needs at no cost to them.
        Included are all transportation to and from the country of origin and all costs associated
        with that travel. By law sheepherders are not subject to social security or Medicare taxes
        or to income tax withholding. They are bound, as is the employer, by a contract, which
        guarantees a certain period of work, the three-quarters rule, under specified parameters.
        How many of the farm workers in the survey have such assurances as terms of
        employment? How many receive pay that is in essence net to them? How many are full-
        time, yearlong employees. These all are pertinent to any wage comparison, but are
        summarily ignored in the proposal. This circuitous manner that the Department uses for
        the determination is far more complicated and less accurate than the present method.
        Apparently, the employer must alter the wage scale according to frequent reports by FLS.
        How does this work with workers under contracts that specify the wage? A “floating”
        wage defies the “clarity” the Department claims as one reason for this proposal.

        Most herders, after the initial contract, are compensated substantially more than the
        existing base rate and are often rewarded with bonuses dependent upon profitable
        outcomes for the ranch. Even under these circumstances, our most senior and most
        respected herders are not paid the rate you have proposed.

        As stated elsewhere in these comments, at present levels from 2010 through 2012, the
        basic costs of employment for our sheepherders – wages and other compensation,
        Western Range Association travel and fees, worker’s comp, and commissary – consumed
        from 23% to 45% of the GROSS income from sale of lambs, ewes, and wool. With all
        other expenses considered, it becomes apparent that our company lost money in some of
        these years. Such is the nature of all agriculture, a difficult business subject to cycles of
        nature and markets. The Department does not understand this concept, chooses to ignore
        it, or is using this fact for an agenda only implied in this document. Our expenses rise
        each year – for example the cost of gasoline was $1.86 in 2008, but at times has reached
        $4.00 in the interim. Lamb prices for the time period cited above have fluctuated from
        slightly under $1.00 to $1.90, not sequentially. Since fuel prices are closely tied to the
        costs of all goods, the economic disadvantage should be clear. Thirty and more years ago
        gas prices and lamb prices were very closely aligned.


        The Department also neglects to consider the impact of losing businesses that generate
        capital from nothing but dedication, hard work and initiative as opposed to those
        dependent upon such enterprise, in particular government. The Department fails to
        recognize what the Nevada Department of Agriculture terms the “agriculture value
        chain”, which encompasses inputs used by ranches that are purchased from other
        industries as well as those enterprises that process, manufacture, market and sell for
        consumption the products of agriculture.” NV Dept of Ag continues with, “Nevada farm
        and ranch enterprises create value from capital they use and workers they employ.”




        J & C Espil                                                                                 6
Exhibit F at 74
                                                                                                        AR1373
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        Page 20315

        Transfer costs – a ridiculous concept that is merely income redistribution by another
        name. However, in this instance the income is distributed out of the country and in real
        terms there will be no “transfer”, since the proposed rules will ultimately destroy the H-
        2A program for sheepherding. This is apparently the unstated, but obvious goal of the
        Department.

        Page 20316

        Exhibit 2 – number and Percentage of H-2A Employers by Occupation and State

        This table is a total misrepresentation of the profile of the industry. For example
        Department shows one employer in Nevada, while Western Range Association has 17
        members in Nevada as of January 2015. None of the other numbers mirror the Western
        Range membership numbers either. If Department cannot truthfully represent such basic
        statistics, how can any of the mathematical machinations be trusted?

        Page 20322

        TRANSFERS (see page 20315 comment)

        The concept of “transfers” is simply, in the lexicon of socialism, a redistribution of
        wealth as forced by rules and regulations promulgated by unelected bureaucrats. The one
        factor that such philosophical jargon neglects is that someone or some entity must have
        access to capital used in food production. The Nevada Department of Agriculture in the
        publication “Economic Contribution of Nevada Agriculture” (2013) states it in this
        manner: “Capital used in food and agriculture production can be categorized as human
        capital, natural-resource capital (land and water), physical capital (agricultural
        equipment, livestock inventory, and crop inventories), and off-farm manufactured capital
        like fertilizers, pesticides, and financial capital”.

        The Department in its proposed rule assumes a steady supply of all the above and an
        incremental increase, much like that afforded bureaucracies. However, in the private
        agriculture sector, uncertainty is the rule. In the sheep industry, in particular, success or
        failure is not determined until the product is marketed, shipped, and paid for. We are
        paid once a year for 12 months of work and generations of sacrifice, planning, and shared
        expertise. Sometimes that compensation does not cover all expenses and financial capital
        must be borrowed to meet obligations. In that “transfer” the employer “rents” the capital
        for a cost called interest on the loan. That may be added to the interest on loans for other
        forms of capital also. Therefore, the concept of a simply “transfer” is not so simply at all.




        J & C Espil                                                                                  7
Exhibit F at 75
                                                                                                         AR1374
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        The Department estimates an annual growth rate of 2% in the certification of H-2A
        workers. It predicts 2,929 H-2A workers in 2016 and 3,500 in 2025.

        This renders one speechless! The proposed rule, by Department admission, will have
        deleterious effects on growers, their businesses, and their need for workers of any kind.
        How, then, will that “need” GROW for H-2A range sheepherders and livestock workers?
        In addition Department repeats its role in the protection and promotion of the U.S. worker
        throughout this proposal. Purportedly, according to the Department, the increased wages
        will allow domestic workers to become sheepherders. The implication is that with an
        influx of domestic workers there will be a concomitant decline in H-2A sheepherders.

        History is a stark reminder of what has happened to the range sheep industry. The USDA
        statistics in a report dated June 1938 gave the number of sheep in Nevada as 558,651, a
        decline from the 728,305 of 1930. In the succeeding years numbers have plummeted to
        the estimated 70,000 sheep on Nevada’s ranges today.

        The Bureau of Labor Statistics, U.S. Department of Labor’s “Occupational Outlook
        Handbook, 2014-15 Edition, Farmers, Ranchers, and other Agricultural Mangers”, job
        outlook 2012-22 prediction is a -19% with a loss of 179,000 jobs.

        Page 20324

        The circuitous “reasoning” of the comments in the first two paragraphs of column one is
        a sad reminder of power without wisdom. The reasoning goes somewhat like this. This
        taking of money from the employer may help U.S. workers, not just H-2A workers, by
        encouraging their employment as herders. This will then allow them a surplus to be spent
        in their local communities after meeting basic needs (which naturally will be spent in
        some sort of community, too), notwithstanding that the “transfer” money is already spent
        by the employer for the needs of the herders and the business at large “in the local
        communities”. But the glitch is that perhaps this transfer will render all herders
        unemployable due to the loss of economic viability of the businesses that required
        herders in the first place. But wait – there may be another benefit to employers due to
        lower expenditures on unemployment benefits, as the unemployed who previously
        declined sheepherding, for financial reasons alone, may get off unemployment. (One side
        note – H-2A herders are not counted for unemployment benefits, since they are
        guaranteed employment by reason of a contract and for other reasons dictated by
        government edict.)

        The Department does concede that it doesn’t have a clue about predicting all of the
        above.



        J & C Espil                                                                             8
Exhibit F at 76
                                                                                                     AR1375
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        For the next few pages, the Department continues with suppositions regarding
        expenditures for all the additional demands placed upon employers to satisfy terms of an
        ever-expanding body of regulations. Most are without merit and are condescending
        attempts at micro-management of complex businesses. Apparently, the exercise is
        performed to satisfy statutory requirements addressed later in this commentary.


        Page 20327

        Obligations to keep daily records for operations that are open-range with far-flung
        locations are an unnecessary imposition that serves little purpose other “compliance”
        monitoring. The Department, only acquainted with compartmentalized work
        environments, proposes an added burden that is nonsensical. Compliance is established
        through contractual agreement when the worker arrives in this country to perform work
        as a livestock range specialist.


        The Regulatory Flexibility Act of 1980 as amended by the Small Business
        Regulatory Enforcement Fairness Act of 1996

        The Department concedes that its proposed rule will have significant and substantial
        economic impact of a number of small entities – which would include virtually all the
        participants in the H2A programs covered by this proposal. This has triggered the need
        for an IRFA or initial regulatory flexibility analysis by the Department.

        The IRFA, which accompanies the proposal, fails in many ways, but particularly in its
        fiscal assumptions and omission of costs. By definition “small entity” would include
        most, if not all, those ranches affected by this rule. Practically speaking, the hypothetical
        farm imagined by the Department is a fiscal impossibility, unless the $252,050 annual
        revenue is augmented by off-farm income or if it is net income. Revenue of this level
        would not support three employees plus the owner and his family in our estimation. For
        this discussion that premise immediately negates the resultant figures, which are
        ridiculously hypothetical in any regard.

        By law Department is to:
         Identify and analyze all major cost factors.

        Two glaring omissions are: the costs associated with operating revenue (interest on loans)
        resulting from this rule; and the workers compensation insurance increase. Of course
        there is also the failure to state that certain other aspects of this rule will totally eliminate
        some of the businesses from the onset (for example, the change of range or pasture
        conditions to the narrow “idea” of open range). As stated elsewhere in these comments,
        “open” range without fencing is a thing of history.



        J & C Espil                                                                                     9
Exhibit F at 77
                                                                                                            AR1376
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        By its own admission Departments proposal will destroy businesses. Yet, this analysis
        fails to quantify the losses associated with massive sale of livestock. Since 40% of the
        nation’s sheep graze on ranges of the West, liquidation of that resource as precipitated by
        this rule, would probably lead to the sale of breeding ewes for slaughter at prices well
        below their value today. Also, BLM and Forest Service sheep permits would be rendered
        valueless. The sheep industry in this nation is heavily dependent upon infrastructure, so
        with a major decline in the need for supporting industry, all sheep associated business
        from coast to coast would suffer a hit. Incidentally, most affected businesses would be
        “small entities”.

        Identify all significant alternatives that would allow the agency to accomplish its
        stated purpose while minimizing the adverse impact or maximizing the benefits to
        small entities.

        Department has failed to meet this requirement, offering only phased-in alternatives to
        one formula concerning wage increases. The “piggy-backed” rules accompanying the
        wage change cannot be termed necessary or proper for function of the H-2A program, but
        they are many and damaging also.

        Page 20337

        Department claims that “Proposed Rule is not a major rule requiring review by the
        Congress under the SBFEFA…”

        We contend that Department has not adequately reviewed the ramifications of the
        proposal, so this claim is without merit. We declare:

        1. There will be an annual effect on the economy of $100 million or more for reasons
        already stated in this discussion.
        2. There will be an increase in costs for consumers due to loss of domestically produced
        lamb, wool, beef, and associated by-products. There will be increased costs to various
        levels of government and geographic regions due to failed business and loss of the careful
        stewardship of land by livestock ranchers.
        3. Loss of 40% of the sheep industry and diminishment of the livestock industry in
        general will significantly affect competition, employment, investment, productivity,
        innovation and the ability of U.S. based businesses to compete.

        These are then the requisites for Congressional review.

        Department also contends that this rule does not qualify under Executive Order
        13132.

        We disagree, since this proposal does have a direct affect on the States, particularly those
        in the West. Whenever the federal government proposes rules that destroy industry in a
        State and, indeed, in a region, and do so in the absence of meaningful dialogue with the
        communities or entities most impacted, federal overreach is implicated.



        J & C Espil                                                                              10
Exhibit F at 78
                                                                                                       AR1377
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        Regarding the Department’s contention that the proposal will not have a negative
        impact on families – we disagree.
        We are a family business that is working upon the fifth generation in the sheep industry.
        Statistics prove that we are no exception in Nevada. According to the Nevada
        Department of Agriculture, the majority of agricultural operations in Nevada – 82.78% -
        are engaged in livestock production. The NDA’s “Economic Contribution of Agriculture
        Report” states, “The largest share of farms and ranches (82.2%) are owned by families or
        individuals, and many of these have been Nevada small family owned businesses for
        many years”
        Our family-owned ranching enterprise will be severely altered by the proposal and,
        therefore, a generational way of life may change forever.

        Executive Order 12630 –

        This rule may not fit the traditional definition of “takings”, but the Department through
        “transfers” is certainly taking property from an employer to give to another person or
        entity. Additionally, Department is dictating use of resources through rules necessary for
        the employment of H-2A workers – another “taking” of personal and business property.
        Any demand for micro-management of private business that is non-productive in nature
        is also a “taking” of human capital, an unreasonable “taking” of precious time and effort.
        Through this proposal with its burdensome dictates and rules, the potential for “taking” a
        ranch and all its resources and the intangibles of “way of life” is very real. For these
        reasons and others we claim that this proposal does constitute a “takings”.

        Page 20338

        Department refers to a “Human Resource Manager”, as if ranches have such an
        individual on staff, or even have a staff for that matter. We feel that the added record
        keeping duties regarding the hours, locations, specific duties of sheepherders and
        livestock workers are excessive and inconsequential. The purported point, as stated in
        the proposal, is to secure and confirm compliance. But if compliance is made impossible
        or unrealistic or oppressive, then no amount of paperwork will render it less so.
        Department should identify the situations or actions deemed non-compliant and remedy
        those. Perhaps, some of the rules and regulations are failure-prone due to bureaucratic
        lack of understanding of the situations involved, due to ambiguity or simply due to bad
        policy. Hopefully, the goal of this proposal isn’t to render compliance impossible.

        Page 20340

        655.211
        Department in addition to dictating impossible wages also determines that the wage is a
        floating factor that must be adjusted according to “publication” of a new wage in the
        Federal Register. The “Human Resource Manager” will be kept very busy adjusting



        J & C Espil                                                                             11
Exhibit F at 79
                                                                                                     AR1378
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        herder’s pay and records and then using the “formula” to arrive at the new wage. Again,
        this a moot point, for we, as H-2A employers, cannot survive the wage requirement and
        edicts of this proposal. Department stated elsewhere in the proposal that the purpose of
        the substantive alterations to existing special procedures was for clarification, (page
        20303, column 1, paragraph 1), specifically to “provide greater clarity for employers with
        respect to program requirements”. Obviously, they have failed in that regard.

        This entire proposal has no redeeming merit and should be discarded.

        John R. and Carolyn Espil




        J & C Espil                                                                            12
Exhibit F at 80
                                                                                                     AR1379
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      Docket: ETA-2015-0004
      Temporary Agricultural Employment of H-2A Foreign Workers in the Herding or Production of
      Livestock on the Open Range in the United States

      Comment On: ETA-2015-0004-0001
      Temporary Agricultural Employment of H-2A Foreign Workers in the Herding or Production of
      Livestock on the Open Range in the U.S.

      Document: ETA-2015-0004-0133
      NA - Olsen, Allen


                                              Submitter Information
      Name: Allen Olsen
      Organization: NA


                                                   General Comment
      My name is Allen Olsen. I own and operate a commercial sheep ranch in central Utah consisting of
      about 2000 ewes. I am the fourth generation to carry this ranch as my father and his father and
      grandfather did before me. This ranch has been battered and bruised over the last century. It has
      seen world wars and depressions but still it stands. It seems as if the country is working against the
      agricultural world everyday even though it is what feeds, cloth, and drives this county to thrive.

      We are not large corporations that can strong hold and manipulate our place in the political world.
      But we are here because we are a hard working essential part of this country. It has not always been
      that the agricultural world relied on H2H workers but as the agricultural in the United States shrinks it
      has demanded more from us at a cheaper cost. To keep up with the demand we rely on H2H
      workers help us fill the shelves.

      On this ranch we have had H2H workers for over 18 years -- most of the workers for multiple 3 year
      contracts because they enjoy working for this ranch. The operating cost of this ranch and how much
      we pay our employees is a very tight running machine. For us to breath we cannot afford a
      significant raise like they propose.

      There are good years but we have to plan for the bad and the worst years, which in this ranchs
      history there has been more bad than good. If this regulation happens you will be able to watch this
      country's agricultural businesses topple right in front of you. Ranches will have to significantly down
      size or even toss in the towel and go out of business completely. The country will have to be fed and
      clothed by other countries. Which will sink us into even more debt to other countries.

      Raises are a necessary part of any operation; wages do go up and as the worker gets more skilled in
      what they do so it is appropriate to give a salary increase. But to double or triple salary is not a fair
      increase to anyone, but just an attempt to cripple this country's agricultural industry.


file:///S|/...FLC/ETA-2015-0004%20H-2A%20Sheepherding/Needs%20to%20be%20converted%20to%20PDFs/ETA-2015-0004-0133.html[11/17/2015
           Exhibit F at 81                                                                                                       1:03:01 PM]

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      Sincerely,                                of 90
      Allen Olsen and Family




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           Exhibit F at 82                                                                                                       1:03:01 PM]

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